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                   EXHIBIT B
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Store Leadership
Development Program
WELCOME PACKET & TOOLKIT
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Welcome to The Kroger Family of
Companies Store Leadership
Development Program!
Congratulations on being chosen to enter the Store Leadership Development Program!
As a new leader with The Kroger Family of Companies, I expect you to continue to learn
and grow, and to take our Associates and our organization to new heights. The ongoing
development of all Associates and leaders is very important to us. The guidance and
support you receive as you go through training will have a lasting impact on you. Learn
from your peers, mentors, and Associates — everyone around you can help you grow.

Even after your first assignment as an assistant store leader, I encourage you to continue
to be mindful to live Our Purpose every day according to Our Values and bring to life
our commitment of Every Customer, Every Time!: Full, Fresh, & Friendly. You’ll do this
by demonstrating our Leadership Model, engaging in your real work, and providing
Uplifting experiences for our Customers and Associates.

It is also important that you reflect upon your strengths and areas of opportunity. After
all, you’re in charge of your professional and personal development. By investing in
ourselves and those around us, we can make a lasting impression and fulfill our purpose
to Feed the Human Spirit.

Once again, congratulations! I look forward to seeing all that you will accomplish as you
begin this journey.

Kindest Regards,




Jessica Kyle
Leadership Development Program Manager
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  First Touch

  Detailed Store Walk Documents:
     •   Grocery - Dairy - Frozen
     •   Drug/GM
     •   Deli
     •   Produce/Floral
     •   Bakery
     •   Meat + Seafood
     •   Front-End
     •   Pickup
     •   Fuel
     •   Pharmacy
     •   The Little Clinic
  Hourly Conditioning

  Hourly Quick Walk

  Fresh at 5

  Getting a Good Close

  8 Behaviors to In-Stock

  6 Behaviors of In-Stock (for divisions using Zebra Device)

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                                                          Our
                                                          Leadership
                                                          Model
                                                          The most powerful leadership tool you have is
                                                          your own example. But our Leadership Model is
                                                          pretty powerful, too. With eight areas to focus
                                                          on that align with our passion for people and
                                                          our passion for results, following the Leadership
                                                          Model will help you to live Our Purpose, stay
                                                          true to our values and deliver on Our Promise.




Coaches and Develops Others                                     Puts the Customer First
Develops and cares about associates, builds                     Anticipates customer needs, champions for the
effective teams, helps people be their best, values             customer, acts with customers in mind, exceeds
and manages diversity, provides candid and                      customers’ expectations, gains customers’ trust
constructive feedback.                                          and respect.

Leads Through Positive Influence                                Provides Clear and Strategic Direction
Demonstrates strong character, builds partnerships,             Plans and organizes well, sets a clear and simple
models a conscious balance between work and                     course of action, stays focused on the most
personal life, takes personal responsibility for own            important priorities, has the ability to visualize
development, role models leadership qualities such              and plan for the future, understands the industry
as: motivation, inspiration, passion and trust.                 and marketplace.

Achieves Results Through Teamwork                               Executes with Excellence
Is open to diverse ideas, works inclusively                     Is action oriented, drives for results, sets clear
and collaboratively, holds self and others                      expectations and milestones, reviews progress,
accountable, involves others to accomplish                      acts decisively, solves problems, can be counted
individual and team goals.                                      on to consistently meet or exceed goals.

Communicates Effectively and Candidly                           Leads Change and Innovation
Communicates clearly and directly, is                           Challenges the status quo, embraces technology,
approachable, relates well to others, engages                   puts forward creative ideas, champions and
people and helps them understand change,                        implements process improvements, gathers the
provides and seeks feedback, articulates clearly,               ideas of others, demonstrates good judgment
actively listens.                                               about which ideas will work.




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Store Leadership
Development Program
CONTACT LIST

Please use the space below to fill in the contacts for your division. These leaders will be valuable resources
for you throughout your journey in the Store Leadership Development Program.

ASSISTANT HUMAN RESOURCES LEADER                             DISTRICT HUMAN RESOURCES LEADER




DISTRICT MANAGER                                             DISTRICT OPERATIONS SPECIALIST




DISTRICT DELI/BAKERY SPECIALIST                              DISTRICT PRODUCE/FLORAL SPECIALIST




DISTRICT MEAT/SEAFOOD SPECIALIST                             DISTRICT DRUG/GM SPECIALIST




DISTRICT CENTER STORE SPECIALIST                             STORE LEADER




TECHNICAL SUPPORT




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Store Leadership
Development Program
SCHEDULE BY WEEK

The Role-Based weeks of the Store Leadership Development Program are designed to deliver a fast-track
experience through the supermarket environment, filled with department experiences, leadership
curriculum, and content delivered directly from General Office (GO) subject matter experts in a virtual
classroom setting. The trainee will be in the store for the full extent of the training program and can
immediately apply the learning while staying closest to the customer experience.
Each week is structured at 5 days. Specific days each week will be coordinated through GO and will be led
virtually, and the remaining days of the week are scheduled according to the weekly guides and the store
management schedule.
This document shares a high-level overview as well as summary by week of the Store Leadership
Development Program from the enterprise as well as Division-specific additions.


PROGRAM                 WEEK                      ACTIVITY
 Preboard                Up to three weeks        New-to-company trainees use this time to acclimate to the grocery
                         experience prior         industry and the organization’s culture
                         to Onboard

 Onboard                 Weeks 1 -3               Refer to Onboard documents for guidance around onboard specific
                                                  activities and scheduling

 Role-Based Training     Week 4                   Enterprise and Division launch, Front-end, HR Policies & Procedures,
                                                  Safety, Cohort Networking Session

 Role-Based Training     Week 5                   Effective Store Walk, Center Store, CAO, Asset Protection, HR
                                                  Systems, Talent/Performance

 Role-Based Training     Week 6                   Effective Store Walk; Center Store; Labor/ELMS/Expense;
                                                  P&L; eCommerce/Pickup; Training, Onboarding, & Associate
                                                  Development; Performance Discussion

 Role-Based Training     Week 7                   Effective Store Walk, Fuel, Human Resources, Pharmacy, Leadership
                                                  Development, Fresh Department Asset Protection & Waste, Business
                                                  Impact Discussion

 Role-Based Training     Week 8                   Effective Store Walk, Total Rewards, Talent Acquisition, CAO, Pickup
                                                  Department

 Role-Based Training     Week 9                   Effective Store Walk, Food Safety, Financials, Performance
                                                  Discussion

 Role-Based Training     Week 10                  Effective Store Walk, Merchandising, Fresh Departments

 Role-Based Training     Week 11                  Effective Store Walk, Associate Relations, Fresh Departments,
                                                  Cohort Activity

 Role-Based Training     Week 12                  Effective Store Walk, Elevate, Leadership Development,
                                                  Performance Discussion

 Role-Based Training     Week 13                  Final Validations


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Onboard Weeks 1-3

The Onboard segment of the Store Leadership Development Program allows trainees to become familiar
with our organization, store structure, and culture before they begin the Role-Based weeks of Store
Leadership Development training. Onboard weeks are for new-to-company leaders and associates with no
department experience.
Trainees use this time to begin their required online learning modules in KnowMe Learning and learn about
and experience the store environment and culture.
Trainees will also spend time with department leaders to become familiar with each one. Store leaders will
work with trainees to ensure their in-store experiences are scheduled around the activities in the Onboard
Weeks guide and store management schedules.
If trainees completed the Preboard weeks, they will not participate in the Day 1 activities listed in the
Onboard Weeks guide as they will have already done that. Instead, their training will be a continuation of
what they experienced during the Preboard weeks.
Onboard Week Activities
Some of the activities and experiences during the three Onboard weeks include the following:
•   Required Online Learning Modules in KnowMe Learning
•   Zero Hunger | Zero Waste discussion with store leader
•   Virtual presentation and discussion about the retail industry, our organization, foodie culture, and more
    with the Store Leadership Development Program Manager
•   Learning about store management roles and responsibilities
•   Working with department leaders throughout the store
•   Experiencing the Effective Store Walk
•   Job shadow assistant store leader(s)
•   Weekly check-ins with the store leader




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Schedule Week 4

   DAY                               ACTIVITY                                        LED BY/WORK WITH
   Mon.      •   Launch calls with Enterprise and Division (3-4 hrs)        •   Virtual Session
             •   Our Promise Shops (1 hr)                                   •   Virtual Session
             •   Corporate Affairs (1 hr)                                   •   Virtual Session
             •   Effective Store Walk                                       •   Store leader
             •   Take Food Safety modules if you haven’t taken these.       •   Online module work

   Tues.     • Front-end (4 hrs)                                            • Virtual Session
             • Safety (2 hrs)                                               • Virtual Session

  Thurs.     •   Ethics/Harassment (2 hrs)                                  •   Corporate Trainer
             •   Unconscious Bias (2 hrs)                                   •   Corporate Trainer
             •   Cohort Networking Session (1.5 hrs)                        •   Virtual Session
             •   Shadow and work with assistant store leader(s).            •   Assistant store leader(s)

   Store     • Attend A Fresh Welcome session                               • Assistant store leader/HR process
  Leader                                                                      owner
 Scheduled   • Front-end department                                         • Front-end department leader
             • Our Leadership Model: Puts the Customer First: Striving      • Store leader
               to delight individual customers

   Store     • Shadow and work with assistant store leader(s).              • Assistant store leader(s)
  Leader     • Effective Store Walk(s)                                      • Store leader
 Scheduled   • End-of-week check-in                                         • Store leader



DIVISION-SPECIFIC TRAINING


  WHAT                                                             WHAT


   WHO                                                             WHO


  TIMING                                                           TIMING


  INFO/                                                          INFO/
 DETAILS                                                        DETAILS


  ACTION                                                        ACTION


 CONTACT                                                       CONTACT


   LINK                                                             LINK




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Schedule Week 5

   DAY                             ACTIVITY                                        LED BY/WORK WITH
   Tues.     • Our Brands (1 hr)                                            • Virtual Session
             • Asset Protection (3 hrs)                                     • Virtual Session
             • Center store department focus                                • Grocery department leader

   Wed.      • HR Systems (2 hrs)                                           • Virtual Session: HR Generalist
             • Talent/Performance (1 hr)                                    • Virtual Session: Performance
                                                                              Development CoE
             • Shadow and work with assistant store leader(s).              • Assistant store leader(s)

  Thurs.     • CAO class (4 hrs)                                            • Virtual Session
             • Center store department focus                                • Assistant store leader(s)

   Store     • Effective Store Walk                                         • Store leader
  Leader     • Center store department focus                                • Grocery department leader
 Scheduled   • Our Leadership Model: Communicates Effectively and           • Store leader
               Candidly: Consistently listening and keeping associates
               informed

   Store     • Shadow and work with assistant store leader(s).              • Assistant store leader(s)
  Leader     • Effective Store Walk(s)                                      • Store leader
 Scheduled   • End-of-week check-in                                         • Store leader




DIVISION-SPECIFIC TRAINING


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Schedule Week 6

   DAY                              ACTIVITY                                        LED BY/WORK WITH
   Tues.     • Labor/ELMS/Expense (4 hrs)                                   • Virtual Session
             • Center store department focus                                • Grocery department leader
               (continued from last week)


  Thurs.     •   P&L Review/709 Review (2 hrs)                              •   Store leader
             •   eCommerce (2 hrs)                                          •   Virtual Session
             •   Training, Onboarding, & Associate Development (2 hrs)      •   Virtual Session
             •   Pickup department                                          •   eCommerce supervisor

   Store     • Effective Store Walk                                         • Store leader
  Leader     • Center store department focus                                • Grocery department leader
 Scheduled     (continued from last week)

   Store     • Shadow and work with assistant store leader(s).              • Assistant store leader
  Leader     • Our Leadership Model: Achieves Results Through               • Store leader
 Scheduled     Teamwork: Encouraging teamwork


   Store     • Pickup department                                            • eCommerce supervisor
  Leader     • Effective Store Walk(s)                                      • Store leader
 Scheduled   • In-depth KnowMe evaluation/feedback loop on                  • Store leader
               performance thus far, plus evaluation on leadership
               capabilities focused on the last three weeks.




DIVISION-SPECIFIC TRAINING


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Schedule Week 7

   DAY                                ACTIVITY                                        LED BY/WORK WITH
   Tues.      • Fuel (1 hr)                                                  • GO. Virtual Session
              • HR information (2 hrs)                                       • GO Virtual Session
              • Shadow and work with assistant store leader(s).              • Assistant store leader(s)

  Thurs.      • Management 101 (2 hrs)                                       • Corporate Trainer
              • Accelerated Leadership Development Program                   • Corporate Trainer
                classes (30 min)
              • Pharmacy/TLC (1 hr)                                          • GO Virtual Session
              • Shadow and work with assistant store leader(s).              • Assistant store leader(s)

    Fri.      • Fresh Department Asset Protection & Waste (2 hrs)            • GO Virtual Session
              • Business Impact discussion (2 hrs)                           • Trainee via Virtual Session
              • Lead huddles throughout the day.                             • Trainee

   Store      • Fuel department                                              • Fuel department leader
  Leader      • Shadow and work with assistant store leader(s).              • Assistant store leader(s)
 Scheduled    • Our Leadership Model: Provides Clear & Strategic             • Store leader
                Direction: Planning work

   Store      •   Effective Store Walk                                       •   Store leader
  Leader      •   Shadow and work with assistant store leader(s).            •   Assistant store leader(s)
 Scheduled    •   Lead huddles throughout the day.                           •   Trainee
              •   End-of-week check-in                                       •   Store leader




DIVISION-SPECIFIC TRAINING


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 DETAILS                                                         DETAILS


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Schedule Week 8

   DAY                             ACTIVITY                                        LED BY/WORK WITH
   Tues.     • Total Rewards (2 hrs)                                        • GO Virtual Session
             • Talent Acquisition (2 hrs)                                   • GO Virtual Session
             • Additional time with Pickup department                       • eCommerce supervisor & Pickup team

  Thurs.     • CAO discussion session (4 hrs)                               • GO and Division Virtual Session
             • Shadow and work with assistant store leader(s).              • Assistant store leader(s)


   Store     • Effective Store Walk                                         • Store leader
  Leader     • Center store department Detailed Walk                        • Grocery department leader &
 Scheduled                                                                    Trainee
             • Shadow and work with assistant store leader(s).              • Assistant store leader(s)

   Store     • Front-end, Customer Service desk                             • Front-end team
  Leader     • Our Leadership Model: Leads Through Positive                 • Store leader
 Scheduled     Influence: Creating an uplifting environment

   Store     • Shadow and work with assistant store leader(s).              • Assistant store leader(s)
  Leader     • Effective Store Walk(s)                                      • Store leader
 Scheduled   • End-of-week check-in                                         • Store leader




DIVISION-SPECIFIC TRAINING


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 DETAILS                                                        DETAILS


  ACTION                                                         ACTION


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Schedule Week 9

   DAY                              ACTIVITY                                       LED BY/WORK WITH
  Thurs.     • Financials (SOS, Dodeca, FCB) (4 hrs)                        • Virtual Session
             • Shadow and work with assistant store leader(s).              • Assistant store leader

   Store     • Effective Store Walk                                         • Store leader
  Leader     • Shadow and work with assistant store leader(s).              • Assistant store leader(s)
 Scheduled   • Lead huddles throughout the day.                             • Trainee

   Store     • Food safety training and certification (8 hrs)               • Division-owned training
  Leader
 Scheduled

   Store     • Shadow and work with assistant store leader(s).              • Assistant store leader
  Leader     • Lead huddles throughout the day.                             • Trainee
 Scheduled   • Our Leadership Model: Executes With Excellence:              • Store leader
               Striving to exceed expectations

   Store     • Effective Store Walk(s)                                      • Store leader
  Leader     • Work on assistant store leader topics.                       • Trainee
 Scheduled   • In-depth KnowMe evaluation/feedback loop on                  • Store leader
               performance thus far, plus evaluation on leadership
               capabilities focused on the last three weeks




DIVISION-SPECIFIC TRAINING


   WHAT                                                           WHAT


   WHO                                                            WHO


  TIMING                                                         TIMING


  INFO/                                                          INFO/
 DETAILS                                                        DETAILS


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   LINK                                                           LINK




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Schedule Week 10

   DAY                               ACTIVITY                                         LED BY/WORK WITH
   Tues.     • Produce Merchandising (2 hrs)                                 • Virtual Session
             • Deli/Bakery Merchandising (2 hrs)                             • Virtual Session
             • Work with assistant store leader(s).                          • Assistant store leader(s)

   Wed.      •   Meat/Seafood Merchandising (2 hrs)                          •   Virtual Session
             •   Drug/GM Merchandising (2 hrs)                               •   Virtual Session
             •   Produce department                                          •   Produce department leader
             •   Our Leadership Model: Coaches and Develops Others:          •   Store leader
                 Empowering others to teach through stories and
                 modeling a commitment to diversity and inclusion

  Thurs.     •   Expanded GM for select divisions (2 hrs)                    •   GO Virtual Session for select divisions
             •   Grocery Merchandising, including Shrink (2 hrs)             •   GO Virtual Session
             •   Merchandising/Marketing (1 hr)                              •   GO Virtual Session
             •   Work with assistant store leader(s).                        •   Assistant store leader(s)

   Store     • Effective Store Walk                                          • Store leader
  Leader     • Produce department                                            • Produce department leader
 Scheduled

   Store     •   Effective Store Walk                                        •   Store leader
  Leader     •   Work with assistant store leader(s).                        •   Assistant store leader(s)
 Scheduled   •   Lead huddles throughout the day.                            •   Trainee
             •   End-of-week check-in                                        •   Store leader



DIVISION-SPECIFIC TRAINING


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  TIMING                                                           TIMING


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 DETAILS                                                         DETAILS


  ACTION                                                         ACTION


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   LINK                                                             LINK




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Schedule Week 11

   DAY                               ACTIVITY                                        LED BY/WORK WITH
   Tues.     •   Effective Store Walk                                       •   Store leader
             •   KOMPASS (1 hr)                                             •   Store leader
             •   DSD/Logistics (1 hr)                                       •   Store leader
             •   Positive Associate Relations/Labor (2 hrs)                 •   GO Virtual Session
             •   Work with assistant store leader(s).                       •   Assistant store leader(s)

  Thurs.     • Associate Relations: Division presentation (2-4 hrs)         • Division Virtual Session
             • Impact Map activity/discussion (2 hrs)                       • GO Virtual Session
             • Work with assistant store leader(s).                         • Assistant store leader(s)

   Store     • Deli/Bakery departments                                      • Deli/Bakery department leader(s)
  Leader
 Scheduled

   Store     • Meat/Seafood department                                      • Meat/Seafood department leader
  Leader     • Our Leadership Model: Leads Change and Innovation:           • Store leader
 Scheduled     Working to make things better by identifying new
               opportunities for the store, department, or facility

   Store     • Effective Store Walk(s)                                      • Store leader
  Leader     • Work with assistant store leader(s).                         • Assistant store leader(s)
 Scheduled   • End-of-week check-in                                         • Store leader




DIVISION-SPECIFIC TRAINING


   WHAT                                                           WHAT


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  TIMING                                                         TIMING


  INFO/                                                          INFO/
 DETAILS                                                        DETAILS


  ACTION                                                        ACTION


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   LINK                                                           LINK




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Schedule Week 12

   DAY                             ACTIVITY                                        LED BY/WORK WITH
   Tues.     • Conducting Effective 1 on 1 Meetings (1.5 hrs)               • Corporate trainer
             • Work with assistant store leader(s).                         • Assistant store leader(s)

  Thurs.     • Inclusive Leader: Maximizing the Mix (3 hrs)                 • Corporate trainer
             • Work with assistant store leader(s).                         • Assistant store leader
             • Lead huddles throughout the day.                             • Trainee

   Store     • Effective Store Walk                                         • Store leader
  Leader     • Work with assistant store leader(s).                         • Assistant store leader
 Scheduled   • Lead huddles throughout the day.                             • Trainee

   Store     • Drug/GM department (for divisions with expanded              • Drug/GM department leader;
  Leader       GM departments, work in those departments too:                 GM/Apparel/Home department
 Scheduled     Apparel, Home/Housewares, Home Electronics)                    leaders as applicable for expanded
                                                                              markets

   Store     • Effective Store Walk(s)                                      • Store leader
  Leader     • Work on assistant store leader topics and work in any        • Trainee
 Scheduled     departments you feel you need more time in.
             • In-depth KnowMe evaluation/feedback loop on                  • Store leader
               performance thus far, plus evaluation on leadership
               capabilities focused on the last three weeks.




DIVISION-SPECIFIC TRAINING


  WHAT                                                            WHAT


   WHO                                                            WHO


  TIMING                                                         TIMING


  INFO/                                                          INFO/
 DETAILS                                                        DETAILS


  ACTION                                                        ACTION


 CONTACT                                                        CONTACT


   LINK                                                           LINK




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Week 13: Validation Week
The Final Validation identifies whether trainees have successfully completed the Store Leadership
Development Program and meet the performance expectations of an assistant store leader. The Final
Validation consists of an in-person performance validation walk with the trainee’s district manager.




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Store Leadership
Development Program
EFFECTIVE STORE WALK TIMELINE


             Effective Store Walk – Salary Manager Timeline
7:00AM – 7:30AM: Arrival
   •    Drive around the building – Check conditions
   •    Park near fuel center – Walk Detailed Fuel Walk with fuel lead
   •    Visually inspect opening courtesy clerk list: Parking lot, trash cans, restrooms, mart carts, foyers, porch, windows, doors, etc.
   •    Primary purpose – “Set the tone”
   •    Walk with night leader/3rd shift ASM
   •    Opening clerks have all arrived
   •    First touch is underway
   •    Any urgent issues are being addressed

7:30AM: Office Time
   •    Pull any report necessary to complete the detailed store walk. These may include;
                o Metric OOS Report, Sales, Connection Shops, Labor Analysis, Sales Planners, Store Manager Exception Reports, OSAT
                     scores/comments, and any division specific reporting
   •    If it is a process walk day, set expectation for ASM using the new process walk sheets
   •    ASM performing the process walk should assist store manager for first 1-2 hours of the day before breaking off to complete the
        process walk. (The ASM is released once the store manager decides store conditions and the customer experience are to standard, or
        will be, by the required time.)

8:00AM: Detailed Store Walk
   •    8:00AM – 8:30AM: Drug/GM (includes home, apparel, and kitchen)
   •    8:30AM – 9:30AM: Grocery
   •    9:30AM – 9:45AM: Huddle – always on the sales floor and should always be about customers and associates
   •    9:45AM – 10:15AM: Fresh departments in the order of your store flow: produce, deli, bakery, meat
   •    10:15AM – 10:45AM: Fresh departments in the order of your store flow: produce, deli, bakery, meat
   •    10:45AM – 11:15AM: Fresh departments in the order of your store flow: produce, deli, bakery, meat
   •    11:15AM – 11:45AM: Fresh departments in the order of your store flow: produce, deli, bakery, meat
   •    11:45AM – 12:00PM: PIckup
   •    12:00PM – 12:15PM: Front-end
   •    12:15 – 12:20PM: Pharmacy (Check Rx Reportal, verify script counts for the day, and discuss MTM)

12:20PM: Lunch
1:00PM – 10:00PM: Quick Walks
   •    Lap store every hour giving direction; look for hourly conditioning in each department
   •    Follow up on lists prepared during first touch and the detailed walk
   •    Give constant “real” time direction and keep associates motivated and informed
   •    Conduct afternoon huddle

3:30PM – 5:00PM: Fresh at Five
   •    Initiate the process at 3:30PM – Each department should follow their specific “Fresh and Five” sheet

4:30PM – 5:00PM: Pass the Baton to closing ASM
   •    Take 30 minutes to walk the store with closing ASM
   •    Verify Fresh at Five is complete
   •    Set expectations with closing clerk(s)
   •    Ensure clerks understand the ASM must sign off on Getting a Good Close before signing out

5:00PM – Close:
   •    ASM continues to execute hourly conditioning and hourly quick walks
   •    Closing list should be 100% complete, otherwise, notes should be provided




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FIRST TOUCH
  Tools: Detailed Walk sheet, RF unit, label printer, yesterday’s Getting a Good Close, cleaning
  supplies
  Owner: Department Manager, Back-Up, Opening Clerk
  Purpose: Prepare dept. for a good Customer Experience, evaluate / prioritize work for the day
  When: First thing each morning – completed before Store Management begins their Detailed
  Walk

  1. Prepare First Touch Cart            2. Review Getting a Good Close        3. Work through All Areas




• Prepare the First Touch cart         • Review last night’s Getting          • Start the First Touch walk at
  with all necessary tools and           a Good Close document.                 the furthest point from the
  supplies.                                                                     department and work back.
                                          Why: Gain a better
   Why: Improve walk efficiency           understanding of who closed           Why: Provides opportunity to
   by beginning the walk with             the department and store,             evaluate and address entire
   all of the necessary tools             what did or did not happen,           department in a streamlined
   on-hand and accessible.                and why.                              and efficient manner.

  4. Address Minor Issues                5. Record Significant Issues




• Using tools from the First           • For issues that will take
  Touch cart, immediately                longer than 2 minutes to
  address any issue that can             resolve, record them on the
  be fixed within 2 minutes              Detailed Walk sheet to
  like – conditioning, printing          address or delegate later.
  a new tag, or collecting a
  go-back.                                Why: Allows team to
                                          evaluate and prioritize entire
  Why: Saves time by                      department before getting
  addressing minor issues on-             absorbed into large projects.
  the-spot.
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FIRST TOUCH FAQS
FAQs
Q: What could cause First Touch to take a long time?
A: Several issues can cause a First Touch to take longer than it should. A good First Touch process really
   starts with Getting a Good Close. If the closing process from the previous night wasn’t a success,
   First Touch becomes more time-consuming. The same is true for Hourly Conditioning. If associates
   aren’t conditioning for short periods of time throughout the day, the next day’s First Touch is more
   difficult. If First Touch seems to be taking too long, work with the department and store
   management team to ensure that each element of the Effective Store Walk is being executed
   throughout the day.
Q: Why is First Touch important?
A: There are two primary reasons why First Touch is critical to a great Customer Experience.
   • First, completing First Touch ensures we assess the status of our entire department. By starting
      from the furthest point away and working our way back, we truly understand the health of our
      department and know how to prioritize our work for the day. Without this full-department
      assessment, we might begin working on a low-priority project, unaware that a high-priority
      project is in need of attention.
   • Second, we know once we begin a project, we will lose sight of the department. By completing
      First Touch before starting other projects, we can feel comfortable and confident that we’ve
      created the best shopping experience possible with what we currently have, before getting
      absorbed into a specific area.
Q: How can the whole department assist in First Touch?
A: Ensuring all associates know how to complete First Touch will make the department successful. Work
   with your district coordinator to develop a First Touch guide or route. Laminate that guide or route
   and attach it to the back of your Detailed Walk clipboard. Anyone can then use the guide or route as
   a reference as they complete First Touch to ensure they don’t miss any areas.




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DETAILED WALK
Tools: Store Walk Cart
Owner: Store Management, Department Leader
Purpose: Establish priorities for the day, affect store conditions, inspire associates
When: Daily 8 a.m. – 12 p.m.

             1. Prepare Store Walk Cart                        2. Stick to the Timeline




           • Store Manager: Prepare the                      • Store Manager: Be diligent about
             Store Walk Cart with the tools                    sticking to the timeline. Start and
             and reports needed to conduct                     finish each department at the same
             a Detailed Walk.                                  time each day.

              Why: Improve efficiency by                        Why: Consistency helps associates
              starting the walk with all of the                 understand expectations and
              necessary tools and data                          ensures every area is visited by
              on-hand and accessible.                           management.

            3. Present Department                              4. Score the Department




          • Department Leader and Store                      • Department Leader: Score your
            Manager: Walk the department                       department.
            together. Discuss which items are a              • Store Manager: Also provide a
            high priority, who will accomplish                 score, and discuss why that score
            them, and when they can be                         was given.
            accomplished by.                                 • (Goal = 85% every day).

            Why: Helps department teams think                   Why: Helps our department teams
            about strategy and assessing                        understand what is most
            workloads. Establishes expectations                 important to customers.
            for management to follow up on
            later.

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DETAILED WALK FAQS
FAQs
Q: Does the Detailed Walk still take place on the Store Manager’s days off?
A: Yes. The entire Effective Store Walk, including the Detailed Walk, needs to take place every day
   regardless of which member of store management is present
Q: Can a department be skipped if they look good?
A: No. Every department must be visited and scored every day. Even if a department looks good at
   surface level, the Detailed Walk can help uncover blemishes. Praise should be given to a department
   performing well. Time should be spent teaching the small details if a department isn’t yet meeting
   the goal.
Q: How is a department scored? What’s a good score?
A: 100% would be considered absolutely perfect. 85% is the daily goal. Anything above 85% means a
   department is delivering everything that our customers expect, and then some. Below 85% means
   that the department isn’t delivering everything that our customers would expect from their shopping
   experience. Look at the department through the eyes of a customer.
Q: Can the order of departments be adjusted?
A: Yes. Center store should be first because of their earlier up-and-ready time. Fresh departments can
   and should be walked in the order of their flow inside of each store.
Q: What if a department is taking too long?
A: Priorities for the department should be discussed first. The Store Manager will need to finish walking
   the department after all of the remaining departments have been completed. Avoid going beyond
   the allotted timeslot for each department. It’s important to get through the entire store before
   getting absorbed into a department.




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Store Leadership
Development Program
DETAILED WALK DOCUMENTS


                       DETAILED WALK - GROCERY-DAIRY-FROZEN
    Date: ____________________                                                                          Sales vs LY %                              Sales $ vs
                                                  Sales vs LY % Yesterday
    Dept. Lead: _______________                                                                             WTD                                  Forecast WTD

                                                                                 FRIENDLY
    Provide Store Leader with an Uplift story.           Discuss any customer comments that are relevant to                   Discuss "Huddle Topic of the Day".
                Uplift Every Way!                                   the department or associate.                                 Gather associate feedback.




     Scan 10 random out of stocks from prior
                                                                                                                          Verify backstock has been worked. Utilize
    days cycle count. Discuss 6 behaviors of               Review MDC Process completion for previous day.
                                                                                                                                   Top Stock APP to confirm.
                    In Stock.
    Check scorecard and discuss yesterdays                  Walk endcaps and share builders for sales plan                  Check and discuss adjusted orders on
    scan outs. Question high and low counts.                  execution and merchandising standards.                                     scorecard.

         Discuss and review department                     Walk and discuss execution of Display Setup for ad
                                                                                                                          Review and discuss shipper execution per
     conditioning standards (including frozen           items and Additional Product located tags on displayed
                                                                                                                                       Best Practice.
                    and dairy).                                                 items.
                                                        Discuss and review department conditioning standards
         Review DSD OOS opportunities.                                                                                    Discuss process completion week to date.
                                                                      (including frozen and dairy).

     Discuss markdown opportunities. Check              Review scorecard for manual replenishment execution.
     section for organization and shopability.                         Discuss opportunities.
                                                                                                                                       Open Topic

                                                                                    FRESH
     Check milk freshness program. No more
                                                                                                                          Verify Code Date Management completed
     than two dates of like item on shelf and                Review and discuss backroom 5S conditions.
                                                                                                                                      with RF handheld.
              rotated to selling zone.
    Discuss that E-transfer process is occuring
                                                                                                                             Theft deterrent EAS tags and if found
      and product transfers/ Starbucks are                 Review air curtains and freezer floor cleanliness.
                                                                                                                              labels in place on Tide/Gain/Pods.
          completed per best practice.
                                                                                                                              Visually verify cooler and freezer
      Verify that Dairy cleaning calendar is              Review Rotation Section for week for Grocery, Dairy,
                                                                                                                           donations have been collected and are
                     current.                                    and Frozen _______________________
                                                                                                                                   clean and organized.


                                                       FIRST TOUCH LIST / FOLLOW-UP ITEMS
        1                                                                                                 6
        2                                                                                                 7
        3                                                                                                 8
        4                                                                                                 9
        5                                                                                                 10

                       Elevate Observation Items                                                      Opening Manager Comments                             Department Score

        1      Verify that associates are spotting to the right

               Verify that associates are working in U-shape left
        2
               to right
               Verify that associates condition commodities as
        3
               they throw
               Bring a bag for plastic and boxes for cardboard,
        4
               damages and re-shop.
               Check that night crew has filled out truck
        5                                                                                             Frozen BOH Accuracy Dairy BOH Accuracy      Groc.    Com. Brd.     Liquor
               completion survey
        6      Check that productivity board has been updated
               Share current department labor standings (refer
        7      to division labor reporting). React or celebrate as
               needed.
    Ma na ger Si gna ture:                                                                                 Past 7 Days - % 0 Exact Accuracy                   Version   2/18/2021




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                                              DETAILED WALK - DRUG GM
Date: ____________________                                                                           Sales vs LY %                              Sales $ vs
                                              Sales vs LY % Yesterday
Dept. Lead: _______________                                                                              WTD                                  Forecast WTD

                                                                             FRIENDLY
Provide Store Leader with an Uplift story.           Discuss any customer comments that are relevant to                     Discuss "Huddle Topic of the Day".
            Uplift Every Way!                                   the department or associates.                                  Gather associate feedback.


                                                                                  FULL
                                                                                                                               Review prior days Directed
     Scan 10 random out of stocks.
                                                       Review MDC Process completion for previous day.                       Replenishment process discuss
     Discuss 6 behaviors of In Stock.
                                                                                                                                     opportuniites.


 Check front sidewalk merchandising for                 Walk endcaps and share builders for sales plan                 Scan 10 items alternating backstock carts
  fullness and correct/missing signage.                   execution and merchandising standards.                        to verify execution of E-transfer process.

                                                       Check all displays including front porch, end caps,              Walk seasonal aisle, kitchen place, and
Visually verify that reclamation is scanned
                                                     share builder and promotional areas for fullness and                    apparel for fullness and daily
          and processed properly.
                                                                         correct signing.                                           conditioning.
                                                                                                                          Verity that Red Dot items, tobacco,
Check cosmetics for fullness, cleanliness,             Walk Telecomm fixtures near Money Services for
                                                                                                                       cosmetics are secured and to standard in
    and conditioning per standards.                             fullness and correct signing.
                                                                                                                                         cage.
 Discuss markdown opportunities. Check                 Walk gift card towers, kiosks, and ends for correct
 section for organization and shopability.                          bonus fuel point signage.
                                                                                                                                     Open Topic


                                                                                 FRESH
Verify Code Date Management completed                                                                                        Review and discuss backroom 5S
                                                       Discuss department conditioning and cleanliness.
            with RF handheld.                                                                                               conditions to ensure organization.

    Review rotation section for week                 Confirm shippers/PDQs in backroom and salesfloor are               Follow up on rotation section for week
        _______________________                            dated, take action, fill, pull, and relocate.                       _______________________

                                                     Check that older markdowns on shelf are revisited for
 Review WOW/Seasonal aisle readiness.
                                                                     additional reduction.
                                                                                                                                     Open Topic


                                                   FIRST TOUCH LIST / FOLLOW-UP ITEMS
    1                                                                                                  6
    2                                                                                                  7
    3                                                                                                  8
    4                                                                                                  9
    5                                                                                                 10

                   Elevate Observation Items                                                       Opening Manager Comments                              Department Score
           Verify that associates are working in U-shape left
    1
           to right
           Verify that associates condition commodities as
    2
           they throw
           Bring a bag for plastic and boxes for cardboard,
    3
           damages and re-shop.
    4      Check that productivity board has been updated
           Share current department labor standings (refer
    5      to division labor reporting). React or celebrate as
           needed.
                                                                                                             BOH Accuracy




Ma na ger Si gna ture:                                                                                  Past 7 Days - % 0 Exact Accuracy                   Version   2/18/2021




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                                              DETAILED WALK - DELI
Date: ____________________                    Sales vs LY %                            Sales vs LY %                          Sales $ vs
Dept. Lead: _______________                    Yesterday                                   WTD                              Forecast WTD

                                                                      FRIENDLY
Provide Store Leader with an Uplift story.           Discuss any customer comments that are               Discuss "Huddle Topic of the Day".
            Uplift Every Way!                       relevant to the department or associates.                Gather associate feedback.


                                                                            FULL
                                                         Walk customer seating area for
 Verify that Grab-N-Go PPST/APP is being                                                                Yellow=Raw standards are in place per
                                                           cleanliness and sufficient
       followed. Discuss any zeros.                                                                               Best Practices.
                                                               supplies/utensils.
Walk bulk meat/cheese service case for in            Walk salad and cheese case for correct
                                                                                                        Discuss and review Fresh Kitchen CAO.
stock position. Observe 3 steps of superior          schematic, sign standards, quality, and
                                                                                                           Review 5 BOH accuracy and MDS.
         service for Boar's Head.                                  freshness.
                                                                                                          Review Bulk Movement order guide
   Cold Chicken set to POG with variety              Verify backstock/rack is set up and being
                                                                                                           execution. Boar's Head & Private
        (including pulled chicken).                                worked daily.
                                                                                                                       Selection.
   Review and discuss Store Manager                                                                    Starbucks associate in approved uniform
                                                     Review schedule to ensure 15-rating for
    Exception Report (SMER). Identify                                                                     and using brewing timer. Verify Best
                                                            next two week is at goal
             opportunities.                                                                             Practices (ex: Customer name on cup).
                                                     Utilizing pre-sliced cheese in the FSGNG,
 Walk and discuss CAP/APP execution.
Verify (5) random products for execution.
                                                     case set to POG and product is packaged                       Open Topic
                                                            and labeled to Best Practice.

                                                                         FRESH
    Review and discuss backroom 5S                    Review freshness checks and rotation
                                                                                                              Review temperature logs.
             conditions.                                           calendar.

Verify Code Date Management completed                   Verify cooler donations have been               Discuss department conditioning and
            with RF handheld.                         collected and are clean and organized.                        cleanliness.

  Review known loss and E-40 samples.                 Check for day dots on meat and cheese
         Discuss opportunities.                                       chubs.
                                                                                                                   Open Topic

                                              FIRST TOUCH LIST / FOLLOW-UP ITEMS
    1                                                                                    9
    2                                                                                   10
    3                                                                                   11
    4                                                                                   12
    5                                                                                   13
    6                                                                                   14
    7                                                                                   15
    8                                                                                   16

                     Opening Manager Comments                                                                                    Department Score




Manager Signature:                                                                                                                       Version   2/18/2021




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                         DETAILED WALK - PRODUCE/FLORAL
Date: ____________________                   Sales vs LY %                            Sales vs LY %                            Sales $ vs
Dept. Lead: _______________                   Yesterday                                   WTD                                Forecast WTD

                                                                     FRIENDLY
Provide Store Leader with an Uplift story.          Discuss any customer comments that are               Discuss "Huddle Topic of the Day".
            Uplift Every Way!                      relevant to the department or associates.                Gather associate feedback.


                                                                          FULL
      Scan 5 random out of stocks.                   Verify that wet rack items are trimmed             Walk all secondary locations for full,
     Discuss 8 behaviors of In Stock.                  and conditioned per Best Practice.                 fresh, and quality standards.

 Check for "Red Bag" execution. Utilize RF
                                                   Check variety, quality, and conditioning of        Walk "Condition for Today" and "Condition
    handheld and F3 to view 28 day
                                                            the Floral department.                           for Tomorrow" in backroom.
               movement.
 Observe associates to ensure they are               Walk wet rack, tables, and refrigerated          Review daily shrink tracking, known loss,
  culling out of the box as they stock.              product for merchandising standards.             and E-40 samples. Discuss opportunities.

  Scan 5 Lows or holes in dry packaged                Review clipboard list o execution.
                                                                                                        Check bags and twist ties for fullness.
       produce for BOH accuracy.                    Compare list on cart to product on cart.

   Review and discuss Store Manager
                                                       Review bagged salad set for proper
    Exception Report (SMER). Identify
                                                    rotation and markdown policy is in place.
                                                                                                                   Open Topic
             opportunities.

                                                                        FRESH
    Review and discuss backroom 5S                                                                    Verify there is no damaged, outdated, or
                                                      Walk cooler for dating and rotation.
             conditions.                                                                               poor quality product on the sales floor.
                                                                                                          Check wet rack for deep-cleaning
 Review Code Date Management with RF                 Walk salesfloor for table and wet rack
                                                                                                        execution. Look for dirty or damaged
              handheld.                                           cleanliness.
                                                                                                                       signs.

  Review freshness checks and rotation               Observe associates to ensure they are
               calendar.                                cleaning fixtures as they stock.
                                                                                                                   Open Topic


                                             FIRST TOUCH LIST / FOLLOW-UP ITEMS
    1                                                                                   9
    2                                                                                  10
    3                                                                                  11
    4                                                                                  12
    5                                                                                  13
    6                                                                                  14
    7                                                                                  15
    8                                                                                  16

                    Opening Manager Comments                                                                                      Department Score




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                                           DETAILED WALK - BAKERY
Date: ____________________                   Sales vs LY %                             Sales vs LY %                             Sales $ vs
Dept. Lead: _______________                   Yesterday                                    WTD                                 Forecast WTD

                                                                      FRIENDLY
Provide Store Leader with an Uplift story.          Discuss any customer comments that are                 Discuss "Huddle Topic of the Day".
            Uplift Every Way!                             relevant to the department.                         Gather associate feedback.


                                                                           FULL
                                                                                                        Discuss conditioning and cleanliness of
    Walk and discuss CAP execution.                    Walk Artisan Bread display ensuring
                                                                                                       displays including roll bins, bread fixtures,
   Verify 5 random items for execution                sliced varieties are available all day.
                                                                                                                    and pastry cases.

 Check 5 random CAO item out of stocks              Check promotional displays for fullness               Review single serve case to ensure all
          for for BOH accuracy                               and correct signage.                      items include calorie counts on shelf tags.

 Ensure Artisan Breads are merchandised                                                                    Review bulk donut case ensuring
                                                   Walk tables for correct schematic, quality,
in bags and display is tagged with product                                                               descriptor tags include calories, and
                                                             labeling, and dating.
             description tags.                                                                           ingredient statements are available.
   Review and discuss Store Manager                  Discuss refrigerated cake case. Cakes
    Exception Report (SMER). Identify              decorated to ensure it reflects seasonally                        Open Topic
             opportunities.                                     relevant colors.
Review order guide to ensure inventory is
                                                   Walk freezer case and discuss fullness and
  recorded prior to order (check last 3
                                                           proper rotation of product.
                                                                                                                     Open Topic
                orders).

                                                                         FRESH
Review and discuss backroom and freezer             Discuss conditioning and cleanliness of             Walk markdown rack for cleanliness and
             5S conditions.                            cases, including glass and vents.                   organization. No shopping carts.

  Review cooler/freezer dating process.               Walk product quality and rotation,               Verify donations have been collected and
   Verify whippy icing process followed.            ensuring staggered dates on each table.                     are clean and organized

           Review and discuss                        Review freshness checks and rotation
        "Markdown Effectiveness".                                 calendar.
                                                                                                                     Open Topic


                                             FIRST TOUCH LIST / FOLLOW-UP ITEMS
    1                                                                                     9
    2                                                                                    10
    3                                                                                    11
    4                                                                                    12
    5                                                                                    13
    6                                                                                    14
    7                                                                                    15
    8                                                                                    16

                    Opening Manager Comments                                                                                        Department Score




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                         DETAILED WALK - MEAT + SEAFOOD
Date: ____________________                    Sales vs LY %                             Sales vs LY %                         Total Sales $ vs
Dept. Lead: _______________                    Yesterday                                    WTD                                Forecast WTD

                                                                       FRIENDLY
Provide Store Leader with an Uplift story.           Discuss any customer comments that are                Discuss "Huddle Topic of the Day".
            Uplift Every Way!                       relevant to the department or associates.                 Gather associate feedback.


                                                                            FULL
      Scan 5 random out of stocks.                   Verify that APP tool is being followed on
                                                                                                         Verify that CAP cart is set to standards.
     Discuss 8 behaviors of In Stock.                full service cases and set to schematic.

Review POT is printed prior to first new ad              Walk multi-deck for conditioning.               Review inventory is taken in the order
      order and on Thursday a.m.                             Review new ad signage.                           guide (check last 3 orders).

   Check 10 random ID tags for variety.                                                                  Verify Code Date Management with RF
    Ensure department is set to SATH                    Verify new ad pricing change over.              handheld. Review freshness checks and
               stripping.                                                                                          rotation calendar.

  Verify that EAS soaker pads are being              Ensure all staffing needs are met. Review
                   used.                               15-Minute rating for next two weeks.
                                                                                                                     Open Topic

   Review and discuss Store Manager
                                                    Walk cutting standards. Discuss trimming,
    Exception Report (SMER). Identify
                                                       packaging, scraping, and labeling.
                                                                                                                     Open Topic
             opportunities.

                                                                          FRESH
Walk service case for clean glass, chrome,                                                                  Review and discuss backroom 5S
                                                       Review applicable temperature logs.
              and signage.                                                                                           conditions.

  Walk multi-deck, bunkers, and service              Verify cooler and freezer donations have
                                                                                                        Review daily shrink tracking, known loss,
  case for dirty vents, dried blood, dirty              been collected and are clean and
                                                                                                        and E-40 samples. Discuss opportunities.
         tags, and old stripping.                                    organized.

                                                    Verify that service case is set to standard,        Verify that there is no discolored, bloody,
           Review and discuss
                                                     conditioned hourly, and seafood case is             outdated, or poor quality product in the
        "Markdown Effectiveness".
                                                             misted every 30 minutes.                               markdown section.


                                              FIRST TOUCH LIST / FOLLOW-UP ITEMS
    1                                                                                     9
    2                                                                                    10
    3                                                                                    11
    4                                                                                    12
    5                                                                                    13
    6                                                                                    14
    7                                                                                    15
    8                                                                                    16

                     Opening Manager Comments                                                                                       Department Score




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                                    DETAILED WALK - FRONT-END
Date: ____________________                    SCO Utilization
                                                                                        Average Wait Time
                                                                                                                                        Average Wait
                                               Mos t Current                                                                                time
Dept. Lead: _______________                       Report
                                                                                            Yes terday
                                                                                                                                            WTD

                                                                         FRIENDLY
                                                          Discuss any customer comments                                 Associate Observations
 Provide Store Leader with an Uplift story.
                                                           relevant to the department or                           (Cashier, Courtesy Clerks and SCO
             Uplift Every Way!
                                                                    associates.                                               Attendant).


                                                                             FULL
   Review and discuss most recent SCO                  Verify "Items per Minute" on checklane                Front-end Supervisors are actively working
           Utilization Report.                                monitors or weekly report.                                with SCO Attendant.

                                                      Verify Front- end signage is up to date and             Review and discuss previous week Front-
 Verify that we are checking for skimmers             supplies are stocked (i.e. Money Services,
                                                                                                                end Percent Effective and scheduling
                   daily.                              checklane signage, Flexifit and Gift Card
                                                        end cap and lottery vending machine).                             opportunities.

Verify checklane blockers are being used in            Review and discuss produce scanning                       Review and discuss QueVision %
     all checklanes that are not in use.                          performance.                                performance for previous day and WTD.

 Review and discuss fraud prevention best
                                                        Verify Scan Coordinator is completing                      Verify all SCO Lanes are completely
  practices for Gift Cards, Money Transfers
                                                                    section checks.                                             operational.
            and AML compliancy

                                                                                                               Verify safety vests and cart straps are
    Review and discuss the 31 Day File.                  Review and discuss Sales Forecast.
                                                                                                                  being used by Courtesy Clerks.


                                                                            FRESH
                                                      Verify checklane belts and SCO lanes/Pay
Verify restrooms are clean and stocked with                                                                     Verify go-backs were completed and
                                                           Station is cleaned and sanitized
                 supplies.                                                                                    surrounding area is clean and organized.
                                                                      frequently.

Review and discuss 5S conditions of Money                Verify 5S conditions of the Cleaning                 Review and discuss 5S conditions of the
                Services.                                              Center.                                          accounting room.

                                                        Check windows, floors, and doors for
Verify vending machines, CoinStar, RedBox,              cleanliness in lobby. Verify cart wipe                Communication Board is up to date with
and others are clean and in working order.            station is stocked and garbage cans are                      all required information.
                                                                        empty.

                                              FIRST TOUCH LIST / FOLLOW-UP ITEMS
   1                                                                                       9
   2                                                                                      10
   3                                                                                      11
   4                                                                                      12
   5                                                                                      13
   6                                                                                      14
   7                                                                                      15
   8                                                                                      16

                     Opening Manager Comments                                                   Department Score                             Prev. Wk IPM




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                                             DETAILED WALK - PICKUP
Date: ____________________                     Orders                                  Wait Time                            % In-Stock
Dept. Lead: _______________                   Yesterday                                Yesterday                            Yesterday

                                                                     FRIENDLY
Provide Store Leader with an Uplift story.          Discuss any customer comments that are            Discuss "Huddle Topic of the Day".
            Uplift Every Way!                      relevant to the department or associates.             Gather associate feedback.


                                                                         FULL
Verify associates are following the auto-
                                                    Verify that receipts are being tendered        Verify Labor Utilization screen is used to
  batching process and not manually
                                                   out immediately after a customer leaves.                  manage Daily Labor.
             printing labels.
                                                                                                        Verify associates are reviewing
   Utilize Metrics OOS Reports address                Verify associates are following the
                                                                                                   substitutions and price adjustments with
          possible picking errors.                outlined substitution policy/Best Practice.
                                                                                                                  customers.
                                                      Verify associates are greeting and
 Verify that the Communication Board is                                                            Never scan shelf tag outside of produce.
                                                   confirming customer name on order and
  up to date including Weekly Forecast.                                                                      Always scan item.
                                                     closing the interaction by thanking.

 Verify associates are following de-stage            Verify 15-minute chart is printed and
              Best Practice.                                    being utilized.


                                                                        FRESH
                                                       Verify Tender Verification is being
  Verify associates check freshness on                                                             Verify orders are being staged 45 minutes
                                                   completed (supervisor and management
                all items.                                                                                   prior to pickup window.
                                                                    signature).
    Verify backroom cleanliness and                  Verify two-way radios w/ear piece are
organization (e.g., no associate food, 5S,         being utilized for efficient communication
                  etc.).                                          and coaching.

                                              FIRST TOUCH LIST / FOLLOW-UP ITEMS
    1                                                                                  9
    2                                                                                  10
    3                                                                                  11
    4                                                                                  12
    5                                                                                  13
    6                                                                                  14
    7                                                                                  15
    8                                                                                  16
                    Opening Manager Comments                                                                                   Department Score




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                                               DETAILED WALK - FUEL
Date: ____________________                                                             ID Gallons %                             ID Gallons %
Dept. Lead: _______________                                                             Yesterday                                   WTD

                                                                      FRIENDLY
Provide Store Leader with an Uplift story.         Discuss any customer comments that are                 Discuss "Huddle Topic of the Day".
            Uplift Every Way!                     relevant to the department or associates.                  Gather associate feedback.


                                                                           FULL
                                                   All Fueling positions operational? If not,
    Verify your tank monitor states all                                                               All card readers, security locks, dispensers
                                                  have the issues been addressed, noted on
   systems normal. Address if needed.                                                                       show no evidence of tampering?
                                                         the Problem Log and called in?

Walk concrete pad for cleanliness and oil          Inspect fuel dispensers, hoses, nozzles,
                                                                                                                 MIMIK being followed?
       stains. Address as needed.                 cradles and island bases for cleanliness.

     Walk and discuss kiosk/outside
                                                  Verify all Vestcom pump topper signage is           Verify schedule is posted with only Class C
  merchandising and in stock. Look for
                                                             in place and up to date.                            certified employees.
 windshield cleaner, firewood, motor oil.

   Verify all equipment (e.g., coolers, ice       All merchandise units clean, stocked and               Verify that squeegees and liquid are
freezer, air machine, etc.) are operational.                  tagged/signed.                              available for windshield cleaning.


                                                                          FRESH
Verify the previous days Fuel Center Daily        The entire site, is free of trash, debris and
Tour and Site Checklist was signed off by a        clutter including perimeter landscaping,           Trash cans empty and wiped down clean.
                 manager.                                      and around kiosk.
                                                                                                         Verify your "Spill Response Kit" is all
   Review and discuss kiosk/storage 5S            36" safety cone placed at each dispenser
                                                                                                      together in the Kiosk, ready and available
               conditions.                                         island.
                                                                                                        for use. See daily tour list for details.
   Are your price surveys completed,
                                                  Verify all spill buckets are clean, dry, and        Verify that all deliveries are being input for
 recorded accurately, and submitted on
                                                                  free of debris.                                        the day.
                  time?

                                               FIRST TOUCH LIST / FOLLOW-UP ITEMS
    1                                                                                    9
    2                                                                                   10
    3                                                                                   11
    4                                                                                   12
    5                                                                                   13
    6                                                                                   14
    7                                                                                   15
    8                                                                                   16
                     Opening Manager Comments                                                                                       Department Score




Manager Signature:                                                                                                                           Version   2/18/2021




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                                  DETAILED WALK - PHARMACY
Date: ____________               Script Count                                           Script Count
                                  Yesterday
Pharmacist on Duty: _________________________                                               WTD

                                                                       FRIENDLY
                                                                                                            Staffing update: Current hiring needs, # of
  Ask department to share at least one                Discuss any customer comments that are
                                                                                                              open requisitions, onboarding status,
uplift story. What are you proud of today?           relevant to the department or associates.
                                                                                                                          future outlook


                                                                            FULL
                                                                                                               Are workstations, waiting room, and
   Is there a clear line of site into the
                                                       Are pharmacy associates following the                     counseling area set to pharmacy
pharmacy? Check to ensure displays are
                                                      dress code (all should have name tags)?                 standards (e.g., clutter-free, no food or
            not set too close.
                                                                                                                           drink, etc.)?

                                                                           FRESH
              Have the Pharmacist on duty pull up Pharmacy Reportal and focus your discussion on a different topic depending on the day of the week.

                                                                                                             Tuesday: Clinical Queue - What was the
 Saturday/Sunday: Customer Experience -               Monday: Rx Count - How many scripts did
                                                                                                             NER last week? How many interventions
 What was your wait time and ready rate               the pharmacy sell last week? Compared
                                                                                                            are currently in the queue and what is the
              last week?                                           to last year?
                                                                                                                     plan to complete them?
 Wednesday: Vaccines (both flu and every              Thursday: MedSync - How many patients
day vaccines) - How many vaccines did you              did you enroll last week? What is your                Friday: ELMS - What was your composite
give last week? What is your plan to meet               plan to meet or exceed the goal this                   labor score? Technician % effective?
       or exceed the goal this week?                                    week?

                                             FIRST TOUCH LIST / FOLLOW-UP ITEMS
    1                                                                                     3
    2                                                                                     4
                    Opening Manager Comments                                                                                             Department Score




Manager Signature:                                                                                                                               Version   2/18/2021




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HOURLY CONDITIONING
Tools: Hourly Conditioning reference sheet, cleaning supplies (as needed)
Owner: Department Leader, Back-Up, Clerk
Purpose: Maintain good store conditions throughout the day
When: Every hour from 1 p.m. until 10 p.m. or last clerk goes home

             1. Designate Associate(s)                       2. Review Guide




           • Designated associate(s) will                  • Review the department-
             complete Hourly                                 specific Hourly Conditioning
             Conditioning for a specific                     Guide.
             timeframe(s).
                                                              Why: Prevents any Hourly
              Why: Improve execution by                       Conditioning elements from
              establishing expectations.                      being missed.



             3. Listen for Chime                             4. Perform Conditioning




           • Listen for Hourly                             • Perform Hourly
             Conditioning chime                              Conditioning for 5 – 10
             between 1pm and 10pm.                           minutes.

              Why: Ensures Hourly                             Why: Allows the department
              Conditioning takes place at                     to maintain good store
              regular intervals.                              conditions throughout the
                                                              day, improving the customer
                                                              experience.



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HOURLY QUICK WALK
 Tools: Store Walk Cart
 Owner: Store Management
 Purpose: Maintain good store conditions throughout the day
 When: Hourly, after finishing the Detailed Walk, until leaving

  1. Walk All Departments               2. Observe Conditions                  2. Motivate & Inspire




• Management will walk the            • While walking each                   • Engage all associates
  store hourly, visiting each           department, observe store              throughout the store while
  department at least once              conditions. Address concerns           walking the department.
  per hour.                             as they appear.                        Motivate and inspire them
                                                                               to deliver a great customer
   Why: Helps store leaders stay         Why: Improves customer                experience.
   in-tune with the overall              experience by maintaining
   health of the store.                  and improving store                   Why: Improves store morale
                                         standards and conditions.             and fosters a team culture.


  4. Follow Up on Priorities            5. Communicate New Tasks




• Follow up on priorities and         • Communicate new priorities
  projects identified during            to teams as they are
  the Detailed Walk. Coach              discovered during the walk.
  and teach as needed.
                                         Why: Keeps department
  Why: Allows for evaluation of          teams working on the items
  priorities identified earlier in       customers care about most.
  the day and opportunity to
  react.


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FRESH AT 5
 Tools: Fresh at Five Reference sheet, cleaning supplies (as needed)
 Owner: Department Leader, Back-Up, Clerk
 Purpose: Freshen and replenish department in preparation of primetime shoppers
 When: Started around 3 p.m. - completed before 5 p.m.

 1. Review Fresh at 5 Guide             2. Evaluate Levels & Freshness        3. Replenish and/or Replace




• Review the department-              • Evaluate the levels of               • Replenish displays, ad items,
  specific Fresh at 5 guides.           displays, ad items, and key            and key areas. Replace any
                                        areas of the department.               product that doesn’t meet
  Why: Prevent any Fresh at 5                                                  freshness standards.
  elements from being missed.            Why: Ensure the areas that
                                         are most important to                 Why: Provides opportunity to
                                         customers are evaluated.              evaluate and address entire
                                                                               department in a streamlined
                                                                               and efficient manner.

  4. Condition Remaining                5. Notify Store Management




• Condition remaining                 • Notify store management
  product that wasn’t touched           team that Fresh at 5 has
  during step 3.                        been completed. Walk them
                                        through department.
  Why: Evening customers
  expect the same great                  Why: Keeps management
  experience as morning                  team informed on the status
  customers.                             of the store and department.




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FRESH AT 5 FAQS
FAQs
Q: Isn’t Fresh at 5 the same as Hourly Conditioning?
A: No. Hourly Conditioning is a short touch-up that takes place each hour throughout the day. Fresh at 5
   is a dedicated effort at refreshing and replenishing each department in anticipation of our primetime
   / evening customers.




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GETTING A GOOD CLOSE
 Tools: Today’s Getting a Good Close sheet, writing utensil, cleaning supplies (as needed)
 Owner: Department Leader, Back-Up, Closing Clerk
 Purpose: Prepare dept. for a good customer experience, evaluate / prioritize work for the day
 When: Completed before leaving, between 7 p.m. – 10 p.m.


 1. Write Additional Notes              2. Retrieve Getting a Good Close      3. Work through All Areas




• 1st shift records any               • Retrieve today’s Getting a           • Work through the Getting a
  additional notes, tasks, or           Good Close sheet. Read                 Good Close sheet, checking
  updates for 2nd shift to              through any communication              items off as they are
  review and address.                   left by 1st shift.                     completed.

  Why: Build a strong                    Why: Ensures any important            Why: Ensures no items are
  communication loop between             information left from 1st shift       missed.
  1st and 2nd shift. Pass on             is reviewed.
  important information.

 4. Record Notes                        5. Check Out with MGMT




• Record any notes for 1st            • Inform closing store
  shift to review tomorrow              management of completion.
  morning.                              Review all items and sign at
                                        the bottom.
  Why: Maintains strong
  communication loop, and                Why: Keeps management
  informs 1st shift about any            team informed on the status
  important information from             of the store and department.
  previous evening.                      Strengthens accountability.


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GETTING A GOOD CLOSE FAQS
FAQs
Q: What do I do when I come in the next day and Getting a Good Close wasn’t completed?
A: If the sheet wasn’t completed or signed at all, talk to the closing clerk and store manager to
   understand what prevented Getting a Good Close from happening. Work together to remove
   obstacles. If the sheet was signed off but the work wasn’t completed properly, teach the closing
   clerk what is expected for each item on Getting a Good Close. Ensure they’ve been properly trained
   to perform those items. Discuss the situation with the store management team so that they can
   better review and coach each item during the Getting a Good Close process.




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Store Leadership
Development Program
EFFECTIVE STORE WALK JOB AIDS


 8 BEHAVIORS TO IN-STOCK
                                                                             Note: The 8 Behaviors to In-Stock
                                                                             applies to divisions using the RF
                                                                             Handheld units.


  When: Daily
  Purpose: To provide a simplified work cycle designed to drive sales through improved in-stock
  Who: All store associates
  Measure: Dashboard

                                                   STOCKING
        Ensure all of the product we have in the store is on our shelves and organized in the backroom.
   1. Complete Truck               Why: Meets Customer 1st needs by getting product to the shelf.
                                   Allows for future BOH count accuracy.
                                        INVENTORY MANAGEMENT
                 After processing and stocking all product, now is the best time to update our
                                       Balance on Hand (BOH) counts.

   2. Residual Scan                Why: Corrects understated BOH and catches mispicks.

   3. Damage/Reclaim               Why: Improves BOH count quality.

   4. Lows & Holes                 Why: Ensures BOH accuracy for better order quality. Must be done daily,
                                   regardless of delivery schedule.
                                                   ORDERING
        After verifying BOH counts, we can confidently move to finalizing an order for needed product.
   5. In-Store Order (ISO)         Why: Enables order adjustments for displays, customer requests, non-
                                   CAO items, and fresh bulk items.
   6. Daily Exceptions             Why: Captures sales and BOH issues to improve order quality. Will direct
                                   to all negative BOHs and case quantities of more than 10.

                                                 REPLENISHMENT
     The final step is to make sure all products available in the store are prepared and on the shelf for our
                                                   customers.
   7. Daytime                      Why: Meets the needs of the customers by getting product to the shelf.
      Replenishment                Completes the8steps and prepares the store to begin the steps again the
                                   next day.
   8. Work Backstock               Why: Maintains in-stock position, ensures proper BOH, product is
                                   properly rotated.


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COMPLETE TRUCK
Tools: Box Cutter, hand jack/6 wheeler, step stool, salvage cart
Purpose: Maintains in-stock position and helps maintain proper BOH
When: As needed (based on truck schedule) after running backstock
Measure: Dashboard
    1. Transport to Sales Floor              2. Rotate Product                        3. Stock Shelf




•   Transport product to primary         •       Verify product matches shelf     •    Brace the case against the
    aisle using hand jack or 6-                  tag.                                  shelf when you can.
    wheeler.                             •       Compare date of product          •    Stock using two hands.
•   Park the pallet in front of the              received with product            •    Place freshest stock towards
    product you’ll stock 1st.                    already on shelf.                     back of shelf, placing older
                                         •       If product on shelf is older          stock towards the front.
Why: Product is closer to the shelf              than product received, pull      •    Place residual stock on floor
   and ready to stock.                           product from shelf.                   in front of product.

                                         Why: Maintains Freshness                 Why: Maintains freshness
                                              minimizes shrink.                     Replenishes product
                                                                                    Enables residual scan.


    General Stocking Tips:                       4. Return Backstock                  5. Handling Salvage

    • Stock any sleeve or SRP
      items as they are
      received
    • Utilize 2-handed
      stocking whenever
      possible
    • When stocking bottom
      shelf stock from your                  •    After scanning residual stock   •    Place any plastic in recycle
      knees to relieve back                       place cases on backstock             area and place cardboard in
                                                  cart.                                baler.
      strain
                                             •    Return backstock carts to       •    Return any empty carts to
    • Utilize step stool to                       marked location in backroom.         assigned location.
      reach upper shelves if                 •    Handle all salvage
      necessary                                   appropriately.                  Why: Maintains 5s Environment.

                                             Why: Maintains 5s Environment.




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COMPLETE TRUCK FAQ’S:
FAQ’s
Q: What are some common tips for effective stocking?
A:
    1. Organize the truck onto U-boats by aisle for maximum stocking efficiency.
    2. Verify that the product matches the tag - before filling the shelf.
    3. Try to keep the product in front of you. It should not be more than an arms length from you
     and the shelf. This will minimize the amount of motion and reduce the time spent walking
     back and forth.
    4. Use both hands for stocking. Grab 2 to 4 items per hand.
    5. Stock from tag to tag – left to right. Do not overfill the shelf.
    6. We are no longer stocking only full cases. Stock a case even if it won’t go completely to the
     shelf.
Q: What should I do when I receive a new item that is not in the current shelf set?
A: If the item does not have a tag on the shelf, scan with the RF handheld to verify its status. It
   should then be placed on the designated “New Item Cart”.
Q: Is there a standard number of cases that should be able to be worked per hour?
A: The current Kroger goal for night crew is 55 cases per hour. Daytime stocking is 30 - 35 cases
  per hour. Roundy’s management is studying these productivity models, discussing how they
  might apply, and will eventually be setting guidelines for your division.
Q: What do I do with leftover product that won’t fit to the shelf?
A: After you’ve worked it to the shelf and any other secondary locations, do a Residual or SIM scan
  on the left over product to verify Balance on Hand (BOH) and Allocations are correct.
Q: What should I do if there is a hole on the shelf?
A: If you find a hole on a shelf and you don’t have product to fill it, leave it as a hole until you have
  the correct product to put on the shelf. Do not face over.




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RESIDUAL SCAN
Tools: RF Handheld, backstock cart, step stool
When: After product has been stocked; timing varies by department
Purpose: Verify and correct Balance on Hand on any product that does not go completely to the shelf
Who: Department Leader, Night Crew Leader, or Stocking Clerk
Measure: ISP

           1. Enter Residual Scan                                     2. Check and Update BOH
           MAIN MENU                                                       UPC   0002472200010
           1. Inventory Management                                         ANNR MARINARA SAUCE
           2. Item Markdown
           3. Remove Inventory                                             BOH       : [    5]

                  INV MGMT MENU                                            Pack      :     12
                 1. Residual Scan                                          OnOrder   :      0
                 2. Lows & Holes                                           Alloc     : [   10]
                 3. ISO Ordering                                           Min       : [    4]
                 4. Daily Exceptions
                                                                                ENTER to Save
                 5. Display MIN Setup

         • Select #1 Inventory                                    • Scan product UPC.
           Management.                                            • Count ALL product.
         • Select #1 Residual Scan.                               • Update BOH, if needed.
                                                                  • Arrow down to update Allocation
         Why: Mode designed for correcting                          and/or MIN (if needed).
              BOHs and Allocations on                             • Press ENTER.
              product that will not fit to
              shelf.                                              Why: Accurate BOHs reduce unneeded
                                                                       backstock; Accurate allocation
                                                                       will help in the replenishment
                                                                       process.

           3. Sort Product to Cart                                    4. Complete Process
                UPC 0002472200010                                          UPC 0002472200010
                Place Item with                                              Session recap:
                Slow Movers
                                                                                Updated BOH on
                                                                                8 out of 15
                                                                                items scanned.
                Enter to continue
                                                                               Enter to continue

                 ENTER to Save
                                                                           [               ]

         • Center Store: Place product on                         • Press ESC.
           active backstock, slow mover, fast                     • Press ENTER.
           mover, or new item cart.                               • Return product to the backroom.
         • Fresh Departments: Place product
           on backstock cart.                                     Why: Returns product to home location.
         • If message box appears, press                              Displays summary of your scans.
           ENTER to clear.




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RESIDUAL SCAN FAQs
FAQ’s
Q: Do I need to account for secondary locations during residual scans?
A: Yes. The Balance on Hand (BOH) should include all locations in a store.
Q: Why is it important to update Allocation (shelf capacity)?
A: The allocation field will be used to calculate and flag the fast/slow movers versus active backstock.
  Correct allocations also aid in counting product, the daily pick list, and weekly fast mover list.
Q: How are the Fast and Slow mover prompts generated?
A: Slow movers are items not forecasted to sell down past the MIN within the next 7 days. Fast
   movers are items that sold 75% of allocation yesterday or are forecasted to sell 75% of allocation
   today.
Q: How can the Fast/Slow mover prompts help departments that don’t require backstock separation?
A: Fast mover prompt helps identify items that may need to be replenished throughout the day. Slow
    mover prompt helps identify items that might become short dated.
Q: Which function keys are available in residual scan mode?
A: The following function keys are available in residual scan mode:
    BLUE-3/F-3 Movement History         BLUE-4/F-4 MIN/Status/Allocation/Display MIN History
    BLUE-9/F-9 Additional Item Info SHIFT-1/CTRL-O Order History
    BLUE-ø/F-ø Adjustment History/Detail/Markdown History
Q: Can I see items with an expected distribution during residual scans?
A: Yes. Items with an expected distribution will be noted with a ^ symbol next to the OnOr field.
   CTRL-E can be used to view detail on the expected shipment(s).
Q: What do I do if my Balance on Hand (BOH) has not updated from my new truck, but I have
   worked the product to the shelf?
A: Manually receive the order if needed after communicating with all departments impacted.
Q: What should I do if I receive a new item prompt?
A: Center Store: Product should be separated and placed on a new-item cart as needed for the reset
  team if the reset hasn’t occurred.
  Fresh Depts: Product should be worked to the shelf in place of discontinued items as needed.

                    Department                                         Timing of Residual Scan
Dry Grocery, Natural Foods, Frozen Foods,                    Count left over product from truck
Drug/GM, Frozen Meat/Seafood, Packaged Meat
and Deli (ie: Potato Salad, PS Packaged Deli
Meats & Cheese)
Dairy (excluding Milk & Eggs),                               Count all product on delivery days before the
Produce Bagged Salads and                                    truck is worked (when inventory is at its lowest
Large Quantity Commodities (Deli and Meat)                   point)
Commercial Bakery, Bakery CAO, Meat Random                   Count all product once a week
Weight CAO, Grinds, Dry Produce, Milk and Eggs
Slow Moving Carts in Dry Grocery, Natural                    Count all product once a week
Foods, Frozen and Drug/GM



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DAMAGE/RECLAIM
Tools: RF Handheld, banana boxes (if needed), damaged bins, dumpster
When: Daily to ensure this has been completed before beginning Lows & Holes walk
Purpose: Daily activity to remove product from store/department inventory ensuring accurate
         Balance on Hand (BOH) to produce quality orders
Who: Department lead, back-up, or clerk
Measure: CAO Plus
          1. Enter Remove Inventory                         2. Choose Reason Code

                                                                  Reason Codes
                                                                  1. Theft
              MAIN MENU                                           2. Damage/Reclaim
              1. Inventory Management                             3. Donation
              2. Item Markdown                                    4. Outdated
              3. Remove Inventory                                 5. Item Recall

                                                                 Selection:[ ]




         • Select #3 Remove Inventory.                    • Select the correct Reason Code:
                                                             o Theft: Items where the evidence suggests
                                                                that the item has been stolen (e.g. empty
                                                                package).
                                                             o Damage/Reclaim: Product that is being sent
                                                                to a reclamation center. Items not eligible for
                                                                reclaim will be identified in the handheld.
                                                             o Donation: Product given to charity.
                                                             o Outdated: Outdated product and donations.
                                                             o Item Recall: Product that is being removed
                                                                from the shelf due to an item recall.



          3. Scan Product                                   4. Dispose of Product

                 Remove Inventory



               F2=QTY F3=Chg. Code
                F12=Reclaim Label
               Scan Next Item:
               [                  ]



        • Scan the UPC.                                     • Press ESC.
        • Use BLUE-2/F-2 to update the                      • Select #1 Process Items.
          quantity if necessary.                            • Throw out product, package it for
        • Scan additional product until                       return, or hand-off to the receiver
          complete.                                           for shipment as appropriate.




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DAMAGE/RECLAIM FAQS
FAQS
Q: Can I “Remove from Inventory” at any time?
A: Yes. Although it falls after Residual scans in the 8 Behaviors, removing product can be done at any
   time to help maintain Balances on Hand (BOH).
Q: How do I remove random weight product?
A: Random weight product can be removed by entering in the PLU or scanning the random weight UPC
and pressing enter. The approximate number of items can be entered using BLUE-2/F-2.
Q: What do I do with the product when I am finished scanning it out?
A: Product that is non-sellable and damaged beyond any use can be thrown away unless the product is
   a DSD item. Donations will go to the designated organization. If you have any doubts about the
   removal of a product, see your store manager or give the product to the receiver.
Q: What do the beeps signify when I am removing items from inventory?
A: Three beeps signify that the product is SWELL, which indicates the vendor pays a percentage of all
   orders to cover damages, out of dates, etc. Credit is not given through the reclaim center since it is
   collected upfront. Product should be marked down and sold.

   **Zero beeps signify the product is billable which indicates the vendor will be charged once items
   are scanned through the reclaim center which gives the stores inventory credit.




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 LOWS & HOLES AND CTRL-V
 Tools: RF Handheld, Sorry for the Inconvenience/ Customer 1st tags, step stool (if needed)
 When: Daily. After truck, residual scan, and damage/reclaim and go-backs checked, and backstock
 Purpose: Correct Balance on Hand (BOH) to improve orders
 Who: Department Leader, Back-up, or Clerk
 Measure: Dashboard

 1. Enter Lows & Holes                       2. Look for Lows & Holes               3. Low & Hole Process
  MAIN MENU
  1. Inventory Management
  2. Item Markdown
  3. Remove Inventory
                                                  LOW
          INV MGMT MENU
         1. Residual Scan
         2. Lows & Holes
         3. ISO Ordering
         4. Daily Exceptions
         5. Display MIN Setup                                HOLE
• Select #1 Inventory                   • Low is defined as facings not filled   • Walk entire department.
  Management.                             2- deep.                               • Scan Lows & Holes.
• Select #2 Lows & Holes.               • Hole is defined as an Out-of-stock     • Press CTRL-V to flag items that
                                          without a “Sorry for the                 need to be filled.
Why: Mode designed for updating           Inconvenience” tag.                    • Press ENTER to save.
   BOH for Lows & Holes.                • Scan the shelf tag.                    • Apply “Sorry for the
                                                                                   Inconvenience” tag if prompted.
                                        Why: Locate errors that lead to holes.
                                                                                 Why: Apply “Sorry for the
                                                                                   Inconvenience” tags and create a
                                                                                   work list.
 4. Print CTRL-V                             5a. Lows & Holes Verification          5b. Lows & Holes Verification
   Session recap:

   Updated BOH on
   12 out of 23
   items scanned.

 Print Verification
 Report (Y/N)?

• Press ESC when complete.               • Utilize report to locate product and take action (by department manager).
• If items were flagged, press Y or      • If product is found, work to shelf and mark “F” on report (F=Filled).
  N to print the Verification            • If product is not found, mark “NF” on report (NF=Not Found).
  Report.                                • If BOH update is needed and change is made mark “C” on report
                                           (C=Change).
Why: Allows for the printing of the      • Completed reports must be kept for 7 days on a clipboard by applicable
  Verification List directly from the      department’s communication center for Grocery, Dairy (non-fluid), Frozen
  handheld; displays summary of            and Drug/GM.
  your scans.
                                         Why: Replenish the primary shelf location with product located in other
                                          locations in the store and backroom.


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LOWS & HOLES AND CTRL-V FAQS
FAQs
 Q: How should the “Last Received” and “Last Sold”                       UPC 0003800040260          Recent Shippers
                                                                         KELL EGGO HMSTYL
    information be used?                                                 WFL 10CT      PAK 12        Date         Qty
                                                                         BOH            [ 42]        02/14
 A: This can help you determine how long you have had                                                01/24
                                                                                                                   48
                                                                                                                  12
    a low or a hole to give you more confidence when                     Reason [Data Integ]
                                                                         On Order           5^      ENTER to Cont
    making a Balance on Hand (BOH) change.                               Open Order     [   0]
                                                                         Alloc          [ 20]
 A: If a shipper was received within the last 45 days, a                 MIN            [ 12]
                                                                                                   EXP DIST DETAIL
                                                                                                    EXP DELV      UNITS
    “SH” code will appear next to the “Last Rec’d” field.                Last Rec'd 02/14 SH        02/21/2017* 24 DB
    BLUE-5/F-5 can be used to see the shipper history.                   Last Sold    MV1    7
                                                                                                      ESC = BACK
                                                                        ENTER OR F2=Rsn F5=SH
 A: Expected distributions will also be noted with a ^ symbol
    next to OnOr field and CTRL-E can be used to view detail on expected shipments.
 Q: Can I see additional history screens in the Lows and Holes mode?
 A: Yes. By using the function keys, you can see Mvt History (BLUE-3/F-3), MIN History (BLUE-4/F-4),
     Order Detail (BLUE-6/F-6), Additional Item Info (BLUE-9/F-9), Adjustment History (BLUE-Ø/F-Ø),
     and Order History (CTRL-O/SHIFT-1). NOTE: F-3 will default to cases for some fresh departments.
 Q: Can I change the reason code when I make a BOH change?
 A: Yes. By using BLUE-2/F-2, you can change the reason code from Data Integrity to Theft (if needed).
 Q: Can I flag items to follow-up on that may be in another location in the store?
 A: Yes. During Lows & Holes, you can press CTRL-V to send items to a Lows & Holes Verification report
      that can be printed for later review. This will serve as a pick list to pull items from displays , shippers or
      backroom to the primary shelf location.
 Q: After I have placed a “Sorry for the Inconvenience” tag, what if the product becomes discontinued or the
    next delivery is a mispick? How will I know?
 A: At the beginning of every period, management should scan all existing tags to ensure they are still
   valid and take action as needed.
 Q: Can I scan products that aren’t a low on the shelf if I know I will sell through what I have?
 A: Yes. General guidelines are provided to help identify what to scan, but additional product may be
   scanned if needed (e.g. high selling items with limited shelf space)
 Q: Can I change Open Order and Allocation in this mode?
 A: Yes, Allocation and Open Order can be changed by using the arrow keys. Open Order should only be
    adjusted in Lows & Holes for product CAO isn’t anticipating needing (e.g. bagged salad markdowns).

Center Store
 If you are struggling to complete Lows & Holes daily, create an action plan:
• Choose a few aisles or commodities and make sure all processes of the inventory life cycle are
    completed (backstock, truck, residual with separation of slow, active, fast movers) and complete
    Lows & Holes in these aisles.
• Each day add one additional aisle or commodity.
• Focus on creating daily routines for sections of the store that are ordered daily.




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IN-STORE ORDERING (ISO)
 Tools: RF Handheld and order guide
 When: Before Daily Exceptions for CAO active product.
 Purpose: Method for ordering non-CAO items, displays, and customer requests.
 Who: Department Leader or Back-up
 Measure: ISP

 1. Enter ISO Mode                       2. Order Product                        3. Upload List
  MAIN MENU                                                                  +-------------+
  1. Inventory Management                                                    | Selections |
  2. Item Markdown                                                           |1. Process   |
  3. Remove Inventory                                                        |   Items     |
                                                                             |2. Delete    |
          INV MGMT MENU                                                      |   Last Item |
         1. Residual Scan                                                    |3. Delete    |
         2. Lows & Holes                                                     |   All Items |
         3. ISO Ordering                                                     |             |
         4. Daily Exceptions                                                 |Selection:[ ]|
         5. Display MIN Setup                                                +-------------+

• Select #1 Inventory                  • Scan or enter UPC.                  • Press ESC.
  Management.                          • Press BLUE-2/F-2 if you need to     • Select #1 Process Items.
• Select #3 ISO Ordering.                order more than one case            • Press ENTER.
                                         (default is 1 case).                • Confirm upload successful (use
Why: To create a list of UPCs that            o Type in quantity.              In-Store Processor (ISP) if
     you want to order for non-               o Press ENTER.                   there is an error message).
     CAO products, displays, and       • Repeat for additional product.      • Press any key.
     customer requests.                                                      Why: Automatically uploads the
                                       Why: Scanning a UPC will                   list to the next scheduled
                                            automatically add 1 case to           order.
                                            the order unless the case
                                            quantity is adjusted higher;
                                            Fastest method for ordering
                                            large quantities.




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IN-STORE ORDERING (ISO) FAQS
FAQS
Q: Can I use In-Store Order (ISO) several days in advance of an order?
A: Orders do not have to be open for you to use an In-Store Order (ISO) session. The session will
   automatically attach to the next order.
   EXAMPLE: If you have an order that polls on Tuesday and one that polls on Thursday, you
            cannot place Thursday’s order on a Monday.
Q: What if I get an error message?
A: If the order is in “locked” status, you may receive an error message stating you need to upload the
   In-Store Order (ISO) session from the In-Store Processor (ISP). In this situation, you can manually
   attach the In-Store Order (ISO) session to the order on the In-Store Processor (ISP). This should not
   occur frequently.

Q: What if my handheld times out while I am working on my In-Store Order (ISO) upload?
A: When you go back into In-Store Order (ISO) upload, you will see the        Your Session That
                                                                              Was Terminated Has
   message screen shown below. If you select 1- Process Now, the session      Been Found
   that timed out will upload with the exception of the last UPC you
                                                                              User: jk99999
   scanned and you can continue your order from the last UPC you              Date: 05_09_2017
   scanned.                                                                   Time: 12:29:02

                                                                                     1 - Process Now
                                                                                     2 - Delete Now
                                                                                     3 - Decide Later

                                                                                     Enter Option:



Q: What happens if I scan a product that I do not want by mistake?                   +-------------+
                                                                                     | Selections |
A: You can delete the last item scanned by pressing ESC and                          |1. Process   |
   selecting option #2 Delete Last Item.                                             |   Items     |
                                                                                     |2. Delete    |
                                                                                     |   Last Item |
                                                                                     |3. Delete    |
                                                                                     |   All Items |
                                                                                     |             |
                                                                                     |Selection:[ ]|
                                                                                     +-------------+


Q: What should I do if I try to upload an In-Store Order (ISO) and there is not an order to attach to?
A: This can occur if you are trying to place an order for a catalog that polls infrequently. Order schedules
   are loaded into CAO every Wednesday. If the schedules are not loaded for the catalog you are trying
   to order, you will need to wait to upload your In-Store Order (ISO) session until the catalog schedule is
   loaded into CAO.




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DAILY EXCEPTIONS
Tools: RF Handheld, step stool (if needed)
When: Daily. After In-Store Order (ISO) and before poll time (if needed)
Purpose: Reviewing UPCs which may require order adjustments or have negative Balances on Hand
Who: Department Leader, Back-up, or Associate assisting with the order
Measure: ISP

          1. Open Daily Exceptions                              2. Locate Item
           MAIN MENU

           1.   Inventory Management
           2.   Item Markdown
           3.   Remove Inventory
                IINV MGMT MENU
                1. Residual Scan
                2. Lows & Holes
                3. ISO Ordering
                4. Daily Exceptions
                5. Display MIN Setup

           • Select #1 Inventory                              • Use aisle, price, and UPC to
             Management.                                        locate item.
           • Select #4 Daily Exceptions.                      • Verify product on shelf
           • Select Department.                                 matches shelf tag.
           Why: Generates list to review for                  Why: This information helps
                the department.                                    locate items quickly.

            3. Check & Update BOH                               4. Review Order Details




           • Count product.                                   NOTE: Will not display for Negatives &
           • Update BOH, if needed.                           Recent Negatives.
           • Press CTRL-O/SHIFT-1 to view                     • Compare projected sales to actual sales.
             order history, if needed.                        • Consider recent sales impacts:
           • Press ENTER.                                         • Press BLUE-3/F-3 to view recent
                                                                     sales
           Why: Accurate BOH improves
                                                                  • Press ESC
                order quantity.
                                                              • Choose option number that is closer to
                                                                future sales. Finalize quantity if needed
                                                                 and repeat for additional exceptions.




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DAILY EXCEPTIONS FAQS
FTS
Q: How many exceptions will I have each day?
A: The number of exceptions will vary by department, store, and day of the week.
Q: Is there a certain time of the day when I should work exceptions?
A: Most orders will now open at 3am. On days when you have an order, exceptions should be worked
   before the poll time.
Q: Do I have the ability to skip an exception if another person within my department is responsible
   for ordering certain products?
A: Yes. During step 2, you can use BLUE-6/F-6 to skip an exception and come back to it later.
Q: When should I select “Option 2” (USE MOVEMENT) and change my order?
A: If there is a recent sale, weather event, or another local event that is impacting sales positively or
   negatively and you expect it to continue, select Option 2 to better meet our customers’ needs.
Q: Can I adjust the order quantity after I chose “Option 2” (USE MOVEMENT)?
A: Yes. Once you chose Option 2 (Use
   Movement), a pop-up box will appear,
   showing the change in the Open Order
   quantity. To Accept the change, choose
   option 1. To Edit the quantity, choose
   Option 2 and input the new
   OpOr quantity. Press ENTER to continue.
Q: When should I select “Option 3” (NOT IN SET)?
A: If the item cannot be found or was a one-time customer request.



Order Adjustments Needed Outside Daily Exceptions
Additional order adjustments may be needed outside of daily exceptions. ISO, Item Info, Lows &
Holes, and the ISP can be used to make these adjustments.
• Display items, 3-Day/4-Day sale items, Major Holiday events and Weather
• Mega event items or other complex offers and some WIC/SNAP items
• Regional events, customer requests, etc.
• Specific Department Items:
        o Dairy: orders for milk should still be monitored closely and adjusted as needed in Item Info
        o Bread: due to perishable nature of product, orders should still be monitored closely and
          adjusted as needed in Item Info
        o Drug/GM: cigarettes and infant formula
        o Produce: close dated product, markdown product
        o Deli/Bakery: close dated product, thaw-n-sell products, and markdown product
        o Meat & Seafood: random weight CAO meat, close dated product, and markdown product



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DAILY EXCEPTIONS REASON CODES
There are different types of exceptions which are listed below. The screens displayed change based on
the exception type.
1. Negative Balance on Hand/            3. Excess Product                                  5. Expected Distribution
   Recent Negative Balance on
                                       2 screens for each item                             1 screen for each item
   Hand                                                                                    • Alerts the associate to
                                       • CAO is ordering item.
1 screen for each item                                                                        items with an open order
                                       • Recent movement is significantly lower
• Gives associate an opportunity to                                                           that also have an expected
                                         than forecast is projecting in the future.
  correct any items with a negative                                                           distribution date ranging
                                       • Gives associate an opportunity to
  BOH.                                                                                        from 3 days prior to the
                                         decrease the order.
• Accurate BOH improves order                                                                 current date through 7
  quality.                              BLSKY FR RNG LG BRN                                   days in the future.
• A Recent Negative is any item          EGGS       PAK 15
                                                                                           • This provides RF handheld
                                                    1 /4.19
  which has a positive BOH when         (1 of 1)                                              visibility to items with an
  reviewed, but was negative at         Ail 100 Middle Left                                   open order that also have
  3am. These should still be             UPC 0071537311330
                                                                Excess Product                an expected distribution,
  reviewed.                                Possible OOS
                                                                                              providing the ability to
• Most negatives only display the                              BOH(EA)                10      adjust the Open order
  first screen unless multiple          CHECK BOH & UPDATE     ON ORDER(CS)            1      quantity, as needed.
  exceptions apply. Item can be a             BOH [ 10]        OPEN ORDER(CS)          1   • The expected delivery of
  negative and one of the other                                                               the distribution is the first
                                           On Order 1 cs       PROJ 2DAY SALES        15
  reason codes (2 screens).               ENTER OR SKIP=F6     2DAY MOVEMENT           0      delivery following the
   HRML SHRD CKN TACO
                                                               PAK                    15      expected delivery date
   MEAT                                                                                    • Distribution Detail is in
                                                              CHOOSE OPTION, F3=MVMT
              1 /7.99
                                                              1 = NO CHANGE
                                                                                              units, DB indicates a case
   (4 of 10)
                                                              2 = USE MOVEMENT                distribution, SH indicates
   Ail 101 Middle Left
    UPC 0003760044314
                                                              3 = NOT IN SET                  a shipper distribution

         Negative BOH
                                       4. Large Order Quantity
                                                                                              KRO CRISPY RICE
     CHECK BOH & UPDATE
         BOH [ -1]                     1 screen for each item                                              PAK 14
                                       • Associate is not expected to physically go                       1 /1.99
                                                                                             (1 of 11)
   On Order     8 pcs                    to shelf location and cannot change BOH.             UPC 0001111085121
   ENTER OR SKIP=F6                    • Gives associate an opportunity to validate            Exp Distribution
          PRSL SUGARHOUSE MPL            order quantities which are greater than 10
          BREAD                          cases.                                                On Order
                                                                                             Open Order [
                                                                                                               0 cs
                                                                                                               1]cs
                     1 /3.19
          (1 of 1)
                                       • Random weight is not included.
          Ail 019 Middle Left          • If the Open Order quantity is increased, a          ENTER=SAVE F6=SKIP
           UPC 0001111086366             prompt will ask the associate to confirm              CTRL E=EXP DIST

          Recent Negative BOH
                                         the new quantity.
                                       KRO NAIL POLISH     +----------------------+
          CHECK BOH & UPDATE           REMOVER     PAK 1                                     KRO CRISPY RICE
                                                           |                      |
                                                  10/10.00 | Open Order has                                      PAK 14
                                                                                  |
                BOH [   2]             (1 of 2)                                                                 1 /1.99
                                                           | Increased.           |
          On Order     0 pcs            UPC 0004126037795                                    EXP DIST DETAIL
                                                           |                      |
          ENTER OR SKIP=F6                                                     12 |
                                                           | OLD Open Order:
                                          Large Order Qty                                    EXP DELV      UNITS
                                                           |                      |
                                                                                             03/14/2017     42 DB
 2. Possible Out of Stock (OOS)                            | NEW Open Order:   20 |
                                             BOH      7    |                      |
2 screens for each item                  On Order
                                                           | UPDATE IF REQD
                                                      0 cs | F5
                                                                                  |
                                                                   TO CONFIRM     |
• Recent movement is significantly     4 Day Mvmt    11    +----------------------+
  higher than forecast is projecting   Open Order [ 12]cs                                       ESC = BACK
  in the future.
                                         ENTER OR F6=SKIP
• Gives associate an opportunity to
  increase the order.

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ITEM INFO AND EXPECTED DISTRIBUTION DETAIL
Tools: RF Handheld
When: As needed
Purpose: Reviewing UPCs to understand distribution details
Who: Department Leader, Back-up, or Associate assisting with the order


1. Open Item Info                       2. Open Expected                       3. Review
   ITEM[              ]
                                        Distribution Detail
   UPC 0002900007325 B
   MSI 6964472 PLNTR                         ITEM[             ]                   ITEM[             ]
   DRY ROASTED                               UPC 0002900007325 B                   UPC 0002900007325 B
   PEANUTS     PAK   12                      MSI 6964472 EXP                       MSI 6964472 EXP
   BOH   28     1 /3.99                      DIST DETAIL                           DIST DETAIL
   Min     8 OpOr     0
                                             EXP DELV      UNITS                   EXP DELV       UNITS
   Alo   30                                  03/10/2017     48 SH                  03/10/2017      48 SH
             OnOr     0^
   CAOst A Mv1       5
   Loc      Mv7     28
   Al L 16B Mv28    45
   UPDATE: F2 or FUNC 2
   Item 1 of 2                                    ESC = BACK                            ESC = BACK



• Select #8 Item Info.                  • Press CTRL-E.                        • Review Distribution Details.
• Scan UPC.                                                                    • Press ESC.
• Determine if this symbol                                                     • Change OpOr quantity (if
  “^” is present after OnOr                                                      needed).
  quantity.
                                        Why: Brings up the schedule of         Why: Closes the Expected
Why: Indicates that a                        Expected Distribution(s).              Distribution Screen.
      distribution is expected.



Distribution Detail


                                  Expected Distribution Detail
     ITEM[             ]
     UPC 0002900007325 B
                                  • Displays units that can not be changed.
     MSI 6964472 EXP              • Displays items with an expected distribution date from 3
     DIST DETAIL                    days prior to current date through 21 days in the future.
                                  • SH indicates a shipper distribution.
     EXP DELV      UNITS
     03/10/2017     48 SH
                                  • DB indicates a case distribution.
                                  • The distribution should be delivered on the delivery
                                    following the expected delivery date.
                                  • Distribution Detail can also be accessed from the new Daily
          ESC = BACK
                                    Exception type – Expected Distribution, as well as Residual
                                    Scan and Lows & Holes modes.




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    CENTER STORE REPLENISHMENT/BACKSTOCK
        Tools: Grocery Pass the Baton sheet, Fast Mover/Display Cart, Daily Automated Pick List, Control V List
        When: Daily, prior to, and during peak sales periods
        Purpose: Maintain in-stock position on key products during peak sales periods
        Who: Grocery, Natural Foods, Drug/GM

        1. Grocery Pass the Baton                 2. Work Fast Movers/Bulk                        3. Replenish from Ctrl-V List




    •     Check in with the ASM.              •   Fast Mover Carts: Work all of the       •       If the Lows & Holes Verification has
    •     Review Pass the Baton.                  products on the Fast Mover Cart.                not been completed by the
                                              •   Fill bulk items for ex: water,                  department manager, work the
    Why: The Pass the Baton sheet                 bread, cereal.                                  items remaining on the list. See
         ensures all key tasks are                                                                Lows & Holes Job Aid for more
         completed and helps aid in           Why: Fast movers and bulk items                     details.
         communication between                     are the number one priority            •       If product is found, work to shelf
         shifts.                                   during replenishment.                          and mark “F” on report (F=filled).
                                                                                          •       If product is not found, mark “NF”
                                                                                                  on report (NF=not filled).

                                                                                          Why: Replenishing out of stocks from the
                                                                                             Ctrl-V list.

        4. Replenishment Scan                         5. Touchbase/Backstock                      6. Manage Backstock

         OOS Scan Type
         1. "Never Be Out" Scan
         2. DSD Out-of-Stocks
         3. Division OOS Audit

         8. Replenishment Scan

          Selection: [ ]

         Select OOS Scan Type

•        Only scan ad/sale and Mega tags.         •    Touchbase with ASM. Begin              •    Place all remaining backstock on
•        Print report.                                 working grocery backstock.                  the cart by commodity.
•        Find and locate the items on the         •    Locate backstock cart for your         •    Return backstock to its marked
         report to build a cart.                       department and/or aisle.                    location. If it is after 9 PM, leave,
•        Work items on the report (prioritized    •    Pull cart to sales floor                    backstock cart at the end of the
         by highest BOH quantity).                     location.                                   aisle.
•        If product is found, work to shelf and   •    Work product. See Stock job            •    Handle all salvage appropriately.
         mark “F” on report (F=filled).                aid for stocking best practices.       •    Communicate with ASM on what
•        If product is not found, mark “NF” on                                                     backstock has been completed.
         report (NF=not filled).                  Why: Product is closer to shelf
                                                      and ready to stock;                     Why: Ensure the ASM can complete a
Why: Ensures other previously                         Maintains freshness and                   Good Close for the night crew.
  replenished areas are still in-stock and            BOH.
  identifies remaining potential OOS
  items.

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CENTER STORE REPLENISHMENT/BACKSTOCK: FAQS
FAQS
Q: What are the bulk items in my department?
A: In the grocery department, the bulk items are: Water, Bread, Cold Cereal, Cookies/Crackers, Paper
   Products.
Q: What product is located on Fast Mover carts?
A: Fast Mover carts should contain: (1) items that are flagged as fast movers during the residual scan
   process, (2) ad items and promotional items on display, and (3) items on the Weekly Fast Mover list*
   (as appropriate for your store). Both the residual flags and Weekly Fast Mover list are partially based
   on forecasts for items in your store. Due to varying product shelf allocations, your store may only
   need to include certain items off the Fast Mover List on your fast mover carts.
Q: What are the recommended times for scheduling replenishment/backstock?
A: Replenishment should be completed from 11am – 4pm and backstock should be completed from
   4pm – 11pm. The actual schedule may vary depending on the store’s needs.
Q: Does active (daily) backstock need to be worked prior to truck being stocked?
A: Yes. Working active (daily) backstock helps ensure BOHs are correct, product is properly rotated, and
   like product is grouped together in the backroom.
Q: Do we have to rotate everything?
A: The Labor & Expense and Freshness & Standards groups have worked together to update the current
   stocking and Backstock standards for Paper Products, Laundry, and Cleaning commodities. Product
   Rotation time has been updated as non-perishable products without an expiration date no longer
   require rotation at the shelf.
Q: Do I scan every hole in the department?
A: No, you should only scan Mega tags and ad/sale items.




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WORKING ACTIVE (DAILY) BACKSTOCK
    Tools: Product, U-boat, cart, pallet, step stool (if needed), box cutter, display plans
    Purpose: Maintains in-stock position, ensures proper BOH, product is properly rotated
    When: Daily - before working the truck
    Who: Replenishment Clerk, Department Lead, or Assistant Department Lead
    Measure: Dashboard


    1. Get Backstock Cart                      2. Work Product                        3. Manage Backstock




•    Enter the backroom and                •     Verify product matches shelf     •   Place all remaining backstock
     identify the backstock                      tag.                                 on the cart by commodity.
     wheelers. Locate backstock            •     Properly rotate product          •   Ensure each cart is signed.
     cart for your department                    based on expiration dates.       •   Return backstock to marked
     and/or aisle.                         •     Stock shelf first, then stock        location.
•    Pull cart to sales floor location.          secondary locations.             •   Handle all salvage
                                           •     See stocking job aid for             appropriately.
Why: Product is closer to shelf and
                                                 stocking best practices.
    ready to stock; Maintains                                                     Why: Maintains 5S environment.
    freshness and BOH.                     Why: Maintains freshness;
                                               Customers buy from the
                                               shelf first; Assists in getting
                                               an accurate BOH count.




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WORKING ACTIVE (DAILY) BACKSTOCK FAQS
FAQs
Q: Does active (daily) backstock need to be worked prior to truck being stocked?
A: Yes. Working active (daily) backstock helps ensure BOHs are correct, product is properly rotated, and
   like product is grouped together in the backroom.
Q: Can we just have the night crew work backstock after they work the Truck?
A: Working backstock prior to the truck helps ensure product is properly rotated. If product is worked
   after the truck is thrown, the rotation will be out of sync.
Q: Do we have to rotate everything?
A: Yes, this helps ensure the oldest product is first bought by the customer. It also helps ensure the
   customer has the longest shelf life possible after they purchase it.


Q: What do I need to do with opportunity items?
A: Develop exit strategy for opportunity items:
   • In-store price reduction
   • Keep product on sale
   • Create selling event
   • Cross merchandising and tie-ins with other departments
   • E40 transfer to another store
   • Conduct proper item return
   • For DSD items, work with merchandising team to have vendor pick up items




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WORKED/NOT WORKED ACTIVE (DAILY) BACKSTOCK
CART SIGNAGE
    Tools: Product, backstock cart, Worked/Not-Worked sign, dry erase marker
    Purpose: To keep the correct product on the cart and have it worked daily to keep in stock
    When: Daily – In the evenings after Replenishment
    Who: Department Lead, Assistant Department Lead, Backstock Clerk, Replenishment Clerk

    1. Setting up a Active Backstock
                                                     2. Organize your Backstock Cart                3. Manage Backstock
    Cart




•    Assign backstock cart for your              •    Scan all product in Residual              •   Organize active backstock on
     department and/or aisle.                         Scan mode (do once to                         correct aisle cart.
•    Put active backstock template                    organize your cart).                      •   Ensure each cart is signed.
     inside of the lower sleeve of               •    Verify product is active                  •   Return backstock to marked
     your backer board.                               backstock only.                               location.
                                                 •    See Residual Scan Job Aid for             •   Handle all salvage
Why: This will help organize your                     more info.                                    appropriately.
    cart with the correct product.
                                                 Why: This will help keep your                  Why: Maintains 5S environment.
                                                     backroom organized and this
                                                     prioritizes work.


                      4. Sign Off Complete                                        5. Validate




                  •    Flip sign to “Worked” side.                            •   Validate backstock carts were worked
                  •    Associate writes initials and date                         before starting lows/holes walk.
                       in the assigned boxes.                                 •   Prioritize any not worked backstock
                                                                                  that was not completed.
                  Why: Gives visibility to department                         •   When all backstock has been
                        leader and management the                                 completed and the store detailed
                        last time backstock was                                   walk has been done to check
                        worked.                                                   compliance, department leader flips
                                                                                  card to “Not Worked” side to start the
                                                                                  daily routine again.

                                                                              Why: Ensures all product is out of the
v. 9.11.19                                                                         backroom.

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WORKED/NOT WORKED ACTIVE (DAILY) BACKSTOCK
CART SIGNAGE FAQS
FAQs
Q: Does active (daily) backstock need to be worked prior to truck being stocked?
A: Yes. Working active (daily) backstock keeps you in stock on items that are selling on a regular bases.
   It also helps ensure BOHs are correct, product is properly rotated, and like product is grouped
   together in the backroom. Backstock should be worked in the evening after replenishment by the
   backstock/replenishment clerks.
Q: Do we have to rotate everything?
A: Yes, this helps ensure the oldest product is first bought by the customer. It also helps ensure the
   customer has the longest shelf life possible after they purchase it.
Q: What do the colors on the “Not Worked” side represent?
A: Red: Active Backstock has not been work before the truck.
   Green: Active Backstock has been worked daily, dated with the date completed, and initials of who
   worked the backstock cart.




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WORKING SLOW MOVING BACKSTOCK
    Tools: Product, U-Boat, cart, pallet, RF Handheld, step stool (if needed), box cutter, display plans
    Purpose: Maintains in-stock position and ensures proper BOH, helps offer freshest products
    When: Weekly – on the night designed by your store prior to Lows & Holes for the day
    Who: Department Lead, Assistant Department Lead, Clerk (Night)
    Measure: Dashboard

    1. Get Backstock Cart                        2. Work Product                             3. Residual Stock




•    Enter the backroom and                  •    Verify product matches shelf           •    Place all remaining backstock
     identify the backstock wheelers              tag.                                        on the floor in front of the
     Pull cart to sales floor location.      •    Properly rotate product based               product locations for now.
                                                  on expiration dates.                   •    Repeat this process for all
Why: Product is closer to shelf and          •    Stock shelf first, then stock               backstock items.
    ready to stock; Maintains                     secondary locations.                   •    Repeat steps 1-3 until aisle is
    Freshness and BOH.                       •    See stocking job aid for                    complete.
                                                  stocking best practices.
                                                                                         Why: Assists in getting an
                                             Why: Maintains freshness;                       accurate BOH count;
                                                 Customers buy from the shelf                Enables residual scan.
                                                 first; Assists in getting an
                                                 accurate BOH count.

                           4. Conduct Residual Scan                          5. Return Backstock




                       •   Follow the appropriate                        •    Pick up backstock starting at the
                           steps for conducting a                             front of aisle and continuing
                           residual scan (see residual                        until all backstock is loaded on
                           scan job aid).                                     cart or pallet by backstock type
                       •   Segregate backstock by                             (slow, active, fast).
                           type fast mover, active or                    •    Return backstock to marked
                           slow.                                              location & update when
                                                                              backstock was worked:




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WORKING SLOW MOVING (WEEKLY) BACKSTOCK
FAQS
FAQs
Q: Does backstock need to be worked prior to truck being stocked?
A: Yes. Working backstock helps ensure BOHs are correct, product is properly rotated and like product is
   grouped together in the backroom.
Q: Can we just have the night crew work backstock after they work the Truck?
A: Working backstock prior to the truck helps ensure product is properly rotated. If product is worked
   after the truck is thrown, the rotation will be out of sync.
Q: Do we have to rotate everything?
A: Yes, this helps ensure the oldest product is first bought by the customer. It also helps ensure the
   customer has the longest shelf life possible after they purchase it.
Q: Can we just spot product on the floor rather than stock from the dolly?
A: Spotting product requires a minimum of two ‘touches’ of the product which is less efficient than a
   single ‘touch.’
Q: What day is best to work weekly backstock?
A: It depends on your store, some factors to consider are: Load/Non Load days, availability of staff, and
   backroom layout.
Q: What do I need to do with excessive inventory?
A: Develop Exit Strategy for opportunity items:
   • In-store price reduction
   • Keep product on sale
   • Create selling event
   • Cross merchandising and tie-ins with other departments
   • E40 transfer to another store
   • Conduct proper item return
   • For DSD items, work with merchandising team to have vendor pick up items
Q: Do all departments need separate slow movers?
A: No, only Grocery, Frozen, Natural Foods, and Drug/GM are required to separate slow movers.
   However, other departments may choose to separate slow movers.
Q: Do I have to work all of my slow moving backstock on the same day?
A: No. However, all backstock should be worked each week. Some stores work slow moving backstock
   more than once a week.




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 SLOW MOVER (WEEKLY) BACKSTOCK CART SIGNAGE
   Tools: Product, Slow Mover cart, Worked/Not-Worked sign, dry erase marker
   Purpose: To keep the correct product on the cart and have it worked weekly to keep in-stock
   When: Weekly - before working the truck, or on a non truck day
   Who: Department Lead, Assistant Department Lead, and Clerk (Night)

        1. Setting up a Slow Mover                     2. Organize your Slow Mover
                                                                                                     3. Manage Slow Movers Carts
        Backstock Cart                                 Cart




    •    Assign Slow Mover cart for              •     Scan all product in Residual              •   Organize Slow Mover
         your department and/or aisle.                 Scan mode (do every week to                   backstock on correct aisle(s)
    •    Put Slow Mover template                       organize your cart).                          cart.
         inside of the lower sleeve of           •     Verify product is Slow Mover              •   Ensure each cart is dated and
         your backer board.                            backstock only.                               signed.
                                                 •     See Residual and Night Crew               •   Return Slow Mover cart to
    Why: This will help organize your                  Backstock Part Cases job aids                 marked location.
        cart with the correct product.                 for daily best practices.
                                                                                                 Why: Maintains 5S environment.
                                                 Why: This will keep an organized
                                                     backroom and allow your
                                                     team to stay better in stock.


                         4. Sign Off Complete                                      5. Validate




                     •    Associate writes initials,                           •     Validate Slow Mover carts
                          date, and day to work in                                   were worked weekly
                          the assigned boxes.                                        before starting lows/holes
                                                                                     walk.
                     Why: Gives visibility to                                  •     Prioritize any Slow Mover
                         department leader and                                       carts that were not
                         management when the                                         completed weekly.
                         last time slow mover
                         backstock was worked.                                 Why: Ensures all product is out
                                                                                     of the backroom.


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SLOW MOVER (WEEKLY) BACKSTOCK CART
SIGNAGE FAQS
FAQs
Q: Do Slow Mover carts need to be worked and scanned weekly prior to a truck being stocked?
A: Yes. Working slow mover backstock weekly keeps you in-stock on items that are selling but not on a
   regular base. It also helps ensure BOHs are correct, product is properly rotated, and like product is
   grouped together in the backroom. Scanning your slow movers weekly in Residual Scan mode will
   also help organize your carts as items will from time to time become Active Backstock, this will
   minimize any out of stocks.
Q: Do we have to rotate everything?
A: Yes, this helps ensure the oldest product is first bought by the customer. It also helps ensure the
   customer has the longest shelf life possible after they purchase it.
Q: What does the color yellow on the “Worked Slow Movers” side represent?
A: Yellow is for a quick visual that this is a Slow Mover Backstock cart. Dating with the date completed,
   and initials of who worked the slow mover backstock cart last will help in prioritizing along with any
   training that my be needed.




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THE 6 BEHAVIORS OF IN-STOCK APPLIES TO DIVISIONS ON THE IN-STOCK PROGRAM USING
THE ZEBRA DEVICE.




                6-Behaviors of IN-Stock
                                    Truck
                                    •   Elevate helps teams finish truck efficiently, allowing department leads to
                                        start processes sooner & with more confidence that they are counting the
                                        correct items.
                                    Remove Inventory
                                    •   Pulling damaged and out of date items as you find them will improve scan
                                        out efficiency.

                                    Backroom Count
                                    •   Associates should place backstock on the carts that represent the aisle the
                                        product is located. Placing product on proper backroom carts leads to
                                        more accurate My Daily Count lists.
                                    •   Ensure that distributions are kept separate from the backstock carts until all
                                        product from the distribution can fit on the cart.

                                    My Daily Count
                                    • Well-conditioned aisles make for easier counting.
                                    • Handling go backs as you find them will ensure improved BOH accuracy.


                                    Replenishment
                                    •   Stocking product to the correct location is important for replenishment.
                                        When associates are creating replenishment lists, over packed items or
                                        wrongly placed items will make this task difficult.                              0




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Store Leadership
Development Program
ACRONYM LIST


 TERM                    MEANING                            TERM                 MEANING

 ADA        Americans With Disabilities Act                 CMA       Central Marketing Area



  AFS       Advanced Food Safety                            CMS       Category Management System


            Automated Labor Scheduling =
  ALS                                                       COGS      Cost Of Goods Sold
            SUPERSKED


  BFS       Basic Food Safety                               COH       Cash On Hand



 BOB        Bottom Of Bascart                               CSM       Customer Service Manager


                                                                      Corporate Scanning Systems
 BOGO       Buy One, Get One                                    CSS
                                                                      (Technology)

                                                                      Customer Service Supervisor
BOGOF       Buy One, Get One Free                               CSS
                                                                      (Front End)


 BOH        Balance On Hand                                     DEX   Direct Exchange Of Data



 CAO        Computer Assisted Ordering                      DSD       Direct Store Delivery



  CAR       Constructive Advice Record                          E40   Electronic Form 40


                                                                      Earnings Before Interest, Taxes,
  CCG       Checkstand Crewing Guide                       EBITDA
                                                                      Depreciation, and Amortization


  CDB       Corporate Data Base                                 EBT   Electronic Benefits Transfer



  CDC       Corporate Data Center                               EDI   Electronic Data Interchange

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TERM                    MEANING                             TERM                    MEANING

           Equal Employment Opportunity                                  Hazard Analysis Critical Control
EEOC                                                       HAACP
           Commission                                                    Point


EFT        Electronic Funds Transfer                         HBC         Health & Beauty Care


           Enterprise Labor Management
ELMS                                                          IPM        Integrated Pest Management
           System


EMS        Efficient Marketing Services                       ISO        In-store Ordering



ESI        Electronic Store Invoice                           ISP        In-store Processor



EUID       Enterprise User ID                                 ITD        Internal Department Transfer


                                                                         Kroger Accounting Services
FAQs       Frequently Asked Questions                       KASH
                                                                         Hutchinson

                                                                         Kroger Employees Mutual
FAST       Foods at Safe Temperatures                      KEMBA
                                                                         Benefit Association


FCB        Financial Cost Billing                            KLN         Kroger Line Number



FDA        Food and Drug Administration                       KLP        Kroger Labeled Product



FES        Front-end Supervisor                              KMA         Kroger Marketing Area


           General Offices/Corporate
G.O.                                                         KMP         Kroger Manufactured Product


          General Merchandise (Not available in all
GM        Kroger divisions/stores. Includes Home,            KPC         Kroger Product Code
          Apparel, Photo, Electronics, and Music.)


GNX        Global Net Exchange                               KTV         Kroger Television Network



 GS        General Safety                                    LAN         Local Area Network




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TERM                    MEANING                             TERM                    MEANING

LINK       Electronic Coupon                                  PIT        Powered Industrial Truck



MC         Master Controller                                 PLU         Price Look Up


           Management Information
MIS                                                          POD         Proof Of Delivery
           System


MR         Merchandising Representative                      POG         Plan-o-gram



MSA        Marketing Sales Area                              POP         Point of Purchase



MSDS       Material Safety Data Sheets                       POS         Point of Sale



MTM        Method Time Measurement                           PPE         Personal Protective Equipment


           Medical Therapy Management                                    Regional Accounting Service
MTM                                                         RASC
           (RX)                                                          Center


ODE        Online Data Entry                                 QRG         Quick Reference Guide



OEN        Order Entry Number                                SCO         Self-Checkout



OJT        On-the-job Training                                SDI        Scan Data Integrity


                                                                         Supervisor Front-end
OR         Order Register (Grocery)                         SFEO
                                                                         Operations

           Occupational Safety and Health
OSHA                                                          SIR        Significant Incident Reminder
           Administration


OTC        Over The Counter (RX)                             SKU         Shop Keeping Unit



OTM        One Touch Method                                  SON         Seven 0 Nine (709)




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TERM                   MEANING

SOS       Store Operation Services (CMA)


          Store Operating Statement/
SOS
          Review


SPA       Shelf Price Audit


         Stores Targeting Accident
STAR
         Reduction (Safety program)


TAA       Time & Attendance



UPC       Universal Product Code



UPS       Uninterruptible Power Supply


          United States Department of
USDA
          Agriculture


 VS       Virtual Store (CBT)



WAN       Wide Area Network



WBL       Web-based Learning



WIC       Women, Infant, and Children


          Warehouse Inventory
WIMS
          Management Systems


WOTC      Work Opportunity Tax Credit




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NOTES




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